Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 1 of 52

UNITED STATES v. DIOVANNI CARTER

SUMMARY OF BOSTON POLICE REPORTS!

Page # Date Incident Description

1 5/8/04 Police respond to a residence call for a fight. Officers
learned a woman threw bleach on DIOVANNI
CARTER’S face after he intervened in a verbal
altercation between her and another woman.

DIOVANNI CARTER’s mother arrived and stated “I'M
GOING TO BE BACK FOR THE THIRD FLOOR,
SOMEBODY IS GOING TO GET FUCKED UP.” Ms.
Majors, told officers to “go ahead, arrest me” while
swearing loudly. A resident of the address told police
she is in fear of the Major family.

1 6/8/04 Officers responded to a fight in progress at the Timilty
Middle School. DIOVANNI CARTER approached a
fight between DARIUS CARTER and another and
threatened to beat the third boy up.

1-2 11/18/04 Craig Carter, father of DIOVANNI CARTER walked
into the police station to report that DIOVANNI
CARTER was the subject of an armed robbery by two
unknown males who pointed a gun at him and stole his
jacket and cell phone. DIOVANNI CARTER was able to
get his jacket back.

DIOVANNI CARTER was later threatened at school by
three unknown men and a fight ensued.

2 1/28/05 Police responded to Chez Vous Skating Rink at midnight
for a report of disorderly persons.

 

' Entries set forth herein may not have resulted in criminal charges being
brought or charges that were brought being dismissed, subject to nolle

prosequi or resulting in acquittals.
GOVERNMENT
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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 2 of 52

2/22/05

3/13/05

3/17/05

Police identified a crowd of over about 200 people.
People were kicking cars as they drove down the street,
blocking street, and creating a dangerous situation. A
group of teens boarded an MBTA bus and started
fighting and attempting to destroy the interior of the bus.

Police focused on DIOVANNI CARTER who was
attempting to incite the crowd and refused to back down
when ordered by police. When asked to move from the
street, DIOVANNI CARTER replied “fuck yall” and
repeatedly refused to disperse, he was later placed under
arrest.

CHARGED IN DORCHESTER JUVENILE WITH
DISTURBING THE PEACE. 7/11/05 CASE
DISMISSED.

Officers responded to a report of a person with a gun call
and found DIOVANNI CARTER and Darius at the
location. A pat-frisk revealed a plastic replica semi-
automatic firearm in DIOVANNI CARTER’S pocket.

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

Police responded to a call about young men attempting to
break-in to an apartment. Police identified DIOVANNI
CARTER as part of a group of five males who attempted
to gain access to an apartment by banging and kicking on
the door. They told officers they had previously been
involved in a fight and were being chased.

Police spoke with the victim and observed considerable
damages to the door and frame. DIOVANNI CARTER

was not arrested.

ON PRETRIAL RELEASE DORCHESTER

- JUVENILE COURT

Police responded to a report of six males wearing masks
trying to break-in to an apartment.

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Case 1:19-cr-10104-ADB

3/30/05

5/5/05

5/10/05

Document 86-19 Filed 10/02/19 Page 3 of 52

Police arrived and saw a number of males walking from
behind the location. Police later identified DIOVANNI
CARTER as part of the group,

ON PRETRIAL RELEASE FROM DORCHESTER
JUVENILE.

CHARGED IN DORCHESTER JUVENILE WITH
ATTEMPT AND TRESPASSING. 7/11/05, FOUND
NOT DELINQUENT.

At 8:25 PM, police patrolling near Citizens Bank
observed DIOVANNI CARTER on the premises after

having been previously warned against trespassing.

Police ask DIOVANNI CARTER to disperse and go
home, DIOVANNI CARTER responded “Fuck you” to
the police officer, and forced the police to chase him
before he was caught and placed under arrest for
trespassing.

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

At 6:26 PM, police patrolling near Washington Street
observed DIOVANNI CARTER at the location in
violation of the stay away terms of his pretrial hearing.
Police ask DIOVANNI to leave, he refuses. Officers
informed DIOVANNI CARTER of the terms of his
release, upon confrontation by officers, he fled and
escaped behind a locked door. Police to notify Probation
Officer.

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

Police on patrol observed 8 to 12 males in the area of
Washington Street, and identified some of the males as
individuals who have caused problems to store owners
previously.

DIOVANNI CARTER was one of several males
gathered and blocking the entrance to a store. The officer
ordered the group to disperse, having done so on several
previous occasions, and DIOVANNI CARTER lectured
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 4 of 52

the officer about his rights. The group then crossed the
street and blocked the entrance of another store.
DIOVANNI CARTER told the officer “Fuck you” upon
being ordered to disperse again and attempted to enter
the store. He was arrested.

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

5-6 5/16/05 Police on patrol observed DIOVANNI CARTER at 544
Washington Street, outside the building and told officers
he was there to visit his cousin in #2 which officers knew
to be a known narcotics location. He was pat-frisked and
released, Officers later found a bag of marijuana on the
sidewalk.

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

6 5/27/05 Police on patrol observed DIOVANNI CARTER at 544
Washington Street in violation of his terms of his release,
which included a stay away from the 500 block of
Washington Street. Upon seeing of the officers, he fled
and escaped,

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

6 5/28/05 At 9:28 PM, officers observed DIOVANNI CARTER at
544 Washington Street in violation of his terms of his
release and out past his curfew. Officers informed him
they would report the violation and he told them “Fuck
you” and gave them the middle finger before fleeing.

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

6-7 6/8/05 At 7:30 PM, officers observed DIOVANNI CARTER at
544 Washington Street the location in violation of his
terms of release, which included a stay away and 4pm
curfew. Report also noted that DIOVANNI was under
court monitoring device.
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 5 of 52

6/9/05

6/20/05

8/30/05

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

Officers observed DIOVANNI CARTER at Washington
and Lyndhurst Street, in violation of his terms of release.
Juvenile Probation to be contacted

ON PRETRIAL RELEASE DORCHESTER
JUVENILE COURT

Officers responded to a report of a robbery in progress at
569 Washington Street, at the Citizens Bank. Victim
reported that five males confronted him and asked what
time it was, and then stated “you know what this is.” The
victim ran with the group in pursuit, and was later
grabbed from behind by a suspect wearing all black, later
identified to be DIOVANNI CARTER, who began
hitting him in the face and body. Victim fell to the
ground and other suspects reached into pockets and
grabbed wallet and cell phone.

Victim positively identified DIOVANNI CARTER as the
one wearing all black who had grabbed him from behind
and hit him in the face and body.

ON PRETRIAL RELEASE FROM DORCHESTER
JUVENILE.

CHARGED IN DORCHESTER JUVENILE COURT
WITH UNARMED ROBBERY. 11/2/05, FOUND
DELINQUENT, CASE FILED,

Officers responded to a call for a fight. Witness
observed DIOVANNI CARTER steal her brother’s
scooter, and positively identified him to officers.
DIOVANNI was observed riding the scooter and fled
upon officers’ approach before being captured.

ON PRETRIAL RELEASE FROM DORCHESTER
JUVENILE.

CHARGED IN DORCHESTER JUVENILE WITH
LARCENY. 11/2/05, CASE DISMISSED.
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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 6 of 52

10/4/05

10/7/05

6/12/06

At 9:30 PM, officers responded to DIOVANNI
CARTER’s residence for a report that DIOVANNI
CARTER had stolen his grandmother’s service weapon.
DIOVANNI CARTER’s grandmother, Carole Major,
was a Boston Police officer.

DIOVANNI CARTER stole his grandmother’s
department-issued Glock firearm and five rounds of
ammunition, The firearm and rounds were retrieved by
DIOVANNI CARTER’S father but he fled on his bike.

ON PRETRIAL RELEASE FROM DORCHESTER
JUVENILE COURT.

CHARGED IN DORCHESTER JUVENILE WITH
THEFT OF A FIREARM AND POSSESSION OF A
FIREARM.

After three days in warrant status, police arrested
DIOVANNI CARTER on a straight warrant for carrying
a firearm w/o a license and larceny of a firearm based
upon his theft of his grandmother’s service firearm.

ON PRETRIAL RELEASE FROM DORCHESTER
JUVENILE COURT.

11/2/05 DETERMINED TO BE DELINQUENT
DORCHESTER JUVENILE COURT ON

CHARGES OF POSSESSION OF A FIREARM AND
THEFT OF A FIREARM, COMMITTED TO DYS
CUSTODY.

11/4/05 DETERMINED TO BE DELINQUENT ON
CHARGES OF UNARMED ROBBERY, LARCENY
OVER, TRESPASSING AND DISORDERLY
PERSON. DELINQUENCY FILED.

Troopers of the Governor’s Auto Theft Strike Force were
tracking the Lojack signal of a stolen vehicle. They
observed DIOVANNI CARTER driving the vehicle and
followed it.

When they attempted to stop the vehicle, DIOVANNI
CARTER would not stop and made several abrupt turns
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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 7 of 52

9/28/07

4/18/08

and nearly struck construction workers who had to jump
out of the vehicle’s path. Officers ultimately blocked the
vehicle in, and then DIOVANNI CARTER fled on foot
before being apprehended. He was unlicensed at the time
and wearing an electronic monitoring bracelet.

ON DYS PAROLE

CHARGED IN DORCHESTER JUVENILE WITH
RECEIVING STOLEN MOTOR VEHICLE,
RESISTING ARREST, AND NEGLIGENT
OPERATION, INDICTED AS YOUTHFUL
OFFENDER.

9/11/06 DETERERMINED TO BE DELINQUENT
IN DORCHESTER JUVENILE COURT ON
CHARGES OF RESISTING ARREST, REFUSING
TO AID POLICE OFFICER, AND OPERATING
NEGLIGENTLY COMMITTED TO DYS UNTIL
18™ BIRTHDAY

9/11/06 DETERERMINED TO BE DELINQUENT
IN DORCHESTER JUVENILE COURT ON
CHARGES OF KNOWLINGLY RECEIVING
STOLEN MOTOR VEHICLE COMMITTED TO
DYS UNTIL 21st BIRTHDAY (YOUTHFUL
OFFENDER CASE)

At 1:28 AM, officers observed DIOVANNI CARTER
operating a motor scooter without a helmet. Upon
questioning by officers, he claimed not to have his ID
and identified himself as Darius. Due to his evasive
answers, officers asked him what his brother’s name was
and ran a search, at which point they discovered
DIOVANNI CARTER had an outstanding DYS/Parole
warrant with extradition across the country stipulated.
When confronted with this information, DIOVANNI
CARTER admitted he had lied and was subsequently
arrested.

ON DYS PAROLE

At 9:30 PM, Officers did a curfew check on DIOVANNI
CARTER at 19 Elmhurst Street, and were informed by
his mother that he was not home.
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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 8 of 52

4/19/08

5/4/08

5/6/08

ON DYS PAROLE

Officers responded to Tremont Street to arrest
DIOVANNI CARTER on an outstanding DYS warrant.
A search incident to arrest recovered a medium sized bag
of marijuana in his pants.

ON DYS PAROLE

CHARGED IN ROXBURY DISTRICT COURT
WITH POSSESSION OF A CLASS D SUBSTANCE,
6/3/08, CWOF AND LATER DISMISSED.

Officers interviewed DIOVANNI CARTER who was a
suspect in an armed robbery on 5/4. He was artested on
an unrelated DYS parole violation.

During a recorded interview, DIOVANNI CARTER
admitted to police that he participated in the armed
robbery. He stated they initially went to the location to
purchase marijuana, and stole 20z of marijuana, but
claimed neither he nor his associate used a firearm.
Arrest warrant sought for armed robbery.

ON DYS PAROLE AND ON PRETRIAL RELEASE
FROM ROXBURY DISTRICT COURT

CHARGED IN DORCHESTER DISTRICT COURT
WITH LARCENY FROM A PERSON. 8/1/08 CASE
DISMISSED.

At 7:30 PM, officers responded to 740 Washington
Street, based upon information as to the whereabouts of
DIOVANNI CARTER, who was wanted for violating
conditions of his parole. DIOVANNI CARTER was
found hiding in the bedroom closet and placed under
arrest.

ON DYS PAROLE AND ON PRETRIAL RELEASE
FROM ROXBURY DISTRICT COURT
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12-13

Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 9 of 52

5/8/08

9/19/08

1/13/09

Officers observed DIOVANNI CARTER and placed him
under arrest for a warrant charging him with for armed
robbery.

ON DYS PAROLE AND ON PRETRIAL RELEASE
FROM ROXBURY DISTRICT COURT

6/3/08 ADMITS TO SUFFICIENT FACTS OF
POSSESSION CLASS D CASE CONTINUED
UNTIL 9/2/08

Officers responded to Roxbury District Court and placed
DIOVANNI CARTER under arrest for a DYS warrant
for violating DYS parole.

ON DYS PAROLE

At 10:57 PM, officers responded to 19 Elmhurst Street,
based upon information that DIOVANNI CARTER, who
had an outstanding warrant for escape from a DYS
facility while using force, was at the location.

DIOVANNI CARTER’s mother, Lorie Major, let
officers into the apartment and DIOVANNI CARTER
was apprehended in a bedroom where officers observed
two bags of suspected marijuana, a bag containing 50+
smaller bags with the Apple logo, and a Speer .40 caliber
ammunition box in plain view. Several rounds of
armmunition were found on DIOVANNI CARTER’S
person. All evidence was seized after his mother
provided written consent for a search. DIOVANNI
CARTER was arrested on an outstanding warrant for
escaping DYS custody, unlawful possession of
ammunition, and possession of a Class D substance with
intent to distribute.

ON DYS PAROLE

CHARGED IN DORCHESTER DISTRICT COURT
WITH POSSESSION OF AMMUNITION
WITHOUT FID CARD, AND PWID CLASS D
SUBSTANCE,

6/30/09, CONVICTED IN DORCHESTER
DISTRICT COURT OF POSSESSING
AMMUNITION AND PWID CLASS D AND
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14-15

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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 10 of 52

12/8/09

12/8/09

12/8/09

12/28/09

SENTENCED TO 5 AND 1/2 MONTHS
COMMITTED TO HOC, WITH A PERIOD OF
FROM AND AFTER PROBATION

At 12:42 AM, officers observed a motor vehicle interact
with several known prostitutes, and followed the vehicle
which fled at a high rate of speed upon observing the
police. The vehicle came to a stop, and DIOVANNI
CARTER, operating the vehicle, was ordered out. Police
frisked him, which revealed suspected crack cocaine and
marijuana. $200 was also seized from DIOVANNI
CARTER.

ON DYS PAROLE.

ON PROBATION DORCHESTER DISTRICT
COURT.

CHARGED IN DORCHESTER DISTRICT COURT
WITH PWID CLASS D SUBSTANCE, AND PWID
CLASS B SUBSTANCE. 6/18/10, CHARGES
REDUCED TO SIMPLE POSSESSION, FOUND
GUILTY, PLACED ON PROBATION

The location at which DIOVANNI was first observed
and where he was finally stopped are both believed to be
within 1000” of a school zone and officers intend to
conduct measurements.

Detective responded to scene and took digital photos of
MV.

Officers arrested DIOVANNI CARTER on a straight
warrant ISSUED ON 12/8 for possession of a firearm
w/o FID card and possession with intent to distribute

Class D.

ON DYS PAROLE.
CONVICTED OF POSSESSION CLASS B IN

ROXBURY DISTRICT COURT GIVEN
PROBATION UNTIL 12/17/10

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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 11 of 52

7/10/10

7/30/10

DIOVANNI CARTER was arrested on a DYS parole
warrant, and additional warrants for possession with
intent to distribute Class B, possession with intent to
distribute Class B, two counts of drug violation near a
school zone, fail to signal, failure to stop for police,
equipment violation, and speeding.

ON DYS PAROLE
ON PROBATION ROXBURY DISTRICT COURT

Officers observed an argument between a group of males
and one female. As officers drove by, they observed the
butt of a revolver in DIOVANNI CARTER’S pants
pocket during an argument, and continued to surveil.

Officers observed that DIOVANNI CARTER covered
the handle when vehicles drove into the area, and when a
marked cruiser approached he departed quickly behind a
fence. DIOVANNI CARTER attempted to hold the fence
closed but when officers made it through he fled before
being apprehended. He was found under the front porch
where blood was also observed. A firearm with live
rounds was recovered under the rear porch that was
confirmed to be the same kind of handle observed earlier.

ON DYS PAROLE

ON PROBATION ROXBURY DISTRICT COURT

CHARGED IN DORCHESTER DISTRICT COURT,
AND THEN INDICTED FOR POSSESSION OF
FIREARM WITHOUT A LICENSE, POSSESSION
OF AMMUNITION WITHOUT FID CARD, AND
CARRYING LOADED FIREARM.

11/12/10 VIOLATES PROBATION IN ROXBURY
DISTRICT COURT SENTENCED TO 6 MONTHS
HOC

12/7/10 VIOLATES PROBATION IN

DORCHESTER DISTRICT COURT AND
SENTENCED TO 6 MONTHS HOC,

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17-18

Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 12 of 52

5/18/13

6/12/13

8/22/13

2/24/11, FOUND GUILTY IN SUFFOLK SUPERIOR
COURT OF CARRYING A FIREARM AND
AMMUNITION AND POSSESSING A FIREARM
W/O PERMIT

SENTENCED TO 3 YEARS-3YEARS AND A DAY
WITH FROM AND AFTER PROBATION, AND 2

YEARS IN HOC, SUSPENDED FOR 2 YEARS OF
PROBATION FROM AND AFTER COMMITTED
SENTENCE.

At 1:56 AM, Officers responded to 19 Elmhurst Street,
for a radio call. DIOVANNI CARTER’s girlfriend
stated that DIOVANNI CARTER hit her in the neck.

DIOVANNI CARTER claimed she was hitting the car he
was driving. Parties advised to get a police escort before
DIOVANNI CARTER got his belongings from her, and
released.

ON PROBATION SUFFOLK SUPERIOR COURT

DIOVANNI CARTER identified as person responsible
for a murder on 6/12/13 and an arrest warrant was sought
for murder, unlawful possession of a firearm, and
unlawful possession of ammunition.

ON PROBATION FROM SUFFOLK SUPERIOR
COURT AT TIME OF MURDER.

INDICTED FOR MURDER AND POSSESSION OF
A FIREARM WITHOUT LICENSE. 4/21/15, CASE
SUBJECT TO NOLLE PROSEQUI.

DIOVANNI CARTER arrested on active straight warrant
for murder, carrying a firearm without a license, and
possession of ammunition w/o a FID card.

ON PROBATION SUFFOLK SUPERIOR COURT

ON PRETRIAL RELEASE STOUGHTON
DISTRICT COURT

12
Case 1:19-cr-10104-ADB

18 5/26/15
18-19 6/19/15
19 6/22/15
19 6/27/15
19-20 7/30/15

Document 86-19 Filed 10/02/19 Page 13 of 52

3/7/14 CONVICTED OF POSSESSION CLASS B IN
STOUGHTON DISTRICT COURT SENTENCED
TO 9 MONTHS IN HOC

Officers responded to a call for shots fired at Washington
Street and Lyndhurst Street. Officers located
DIOVANNI CARTER who was shot by unknown male
and transported by DARIUS CARTER to hospital.

ON PRETRIAL RELEASE DORCHESTER
DISTRICT COURT

At 8:09 PM, officers responded to 19 Elmhurst Street for
a report of shots fired. Nancy Carter reported that she,
DIOVANNI CARTER, and two others were shot at by
two men walking on the other side of the street. Officers
observed shell casings consistent with that report.

ON PRETRIAL RELEASE DORCHESTER
DISTRICT COURT

Officers were flagged down by DIOVANNI CARTER
due to a verbal dispute with his ex-girlfriend. Both were
advised to get a police escort to avoid further contact,
and released.

ON PRETRIAL RELEASE DORCHESTER
DISTRICT COURT

Officers on patrol observed DIOVANNI CARTER
violate traffic laws. Upon being pulled over, it was
determined that his license was suspended, and he was
placed under arrest for operation with a suspended
license.

ON PRETRIAL RELEASE DORCHESTER
DISTRICT COURT

At 11:00 PM, officers conducted a traffic stop on a
vehicle driven by DIOVANNI CARTER. His license
was suspended, and he was placed under arrest for
operation with a suspended license. He told officers “I’m
really going to give y’all something to work for later.”

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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 14 of 52

12/16/15

2/26/16

3/3/16

ON PRETRIAL RELEASE FROM DORCHESTER
DISTRICT COURT.

CHARGED IN DORCHESTER DISTRICT WITH
OPERATING AFTER SUSPENDED LICENSE.
2/25/16, CASE DISMISSED.

Officers responded to 11 Moody Street after hearing 8 to
10 gunshots. DIOVANNI CARTER was shot by
unknown person several times and transported to BMC.
Officers discovered three vehicles, two with ballistic
damage. A known associate of DIOVANNI CARTER
was found in a nearby location having told a resident
someone was trying to hurt him.

ON PRETRIAL RELEASE DORCHESTER
DISTRICT COURT AND STOUGHTON DISTRICT
COURT

At 4:49 PM, police responded to 19 Elmhurst for a
domestic violence disturbance. Upon arrival, officers
spoke with an unidentified male who was confrontational
and refused to speak with officers and stood in front of
the door. Officers then spoke to Lori Major, the
reporting party, who stated that DIOVANNI CARTER
was involved in a verbal dispute with her, and upon
departing the home punched out three windows in the
front door before fleeing.

Major would not provide a description of DIOVANNI
CARTER.

ON PRETRIAL RELEASE STOUGHTON
DISTRICT COURT

At 1:24 AM, officers on patrol observed a vehicle with
illegal window tint frequently driven by DIOVANNI
CARTER that had been previously cited for illegal
window tint a month earlier, and turned on their lights.
The vehicle did not stop for some distance but ultimately
stopped after travelling at a slow speed.

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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 15 of 52

9/6/16

7/6/18

Officers observed DIOVANNI CARTER in the
passenger seat behaving suspiciously, pretending to be
asleep.

A frisk of the vehicle revealed a black semi-automatic
firearm in the center console hidden in an area that had
been tampered with and was not fastened to the vehicle.
DIOVANNI CARTER was immediately handcuffed.
Further search revealed five phones, two digital scales,
and officers found 23 stacks of $50 bills totaling $2309
on DIOVANNI CARTER. He was charged with
allowing unlicensed operation, seatbelt violation,
unlawful possession of a firearm, possession of a large
capacity feeding device, armed career criminal.

ON PRETRIAL RELEASE FROM STOUGHTON
DISTRICT COURT

CHARGED IN DORCHESTER DISTRICT, AND
LATER INDICTED FOR POSSESSION OF A
FIREARM WITHOUT PERMIT, 25? OFFENSE.
11/30/17, FOUND NOT GUILTY AT JURY TRIAL.

At 7:15 AM, officers observed DIOVANNI CARTER
entering a stolen motor vehicle, and he was subsequently
arrested on an active warrant. He was also charged with
receiving stolen motor vehicle.

ON PRETRIAL RELEASE FROM SUFFOLK
SUPERIOR COURT

CHARGED IN DORCHESTER DISTRICT COURT
WITH RECEIVING STOLEN MOTOR VEHICLE,
11/2/16 CASE DISMISSED.

At 8:53 PM, officers responded to 11 Elmhurst Street for
a ShotSpotter activation and observed a vehicle with
ballistic damage.

They recovered video footage and several officers
identified the shooter as DIOVANNI CARTER, who was
firing in the direction of three individuals. After firing,
DIOVANNI CARTER then fled back to the area of 19
Elmhurst Street. Complaints sought for Unlawful

15
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 16 of 52

possession of a firearm, second/subsequent possession of
a firearm, carrying a loaded firearm, discharging a
firearm within 500ft of a building, ABDW, attempted
AB by means of discharging firearm, and armed career
criminal II. DIOVANNI CARTER was arrested.

CHARGED IN DORCHESTER DISTRICT COURT
WITH ASSAULT DANGEROUS WEAPON,
DISCHARGING A WEAPON, AND OTHER
RELATED FIREARMS OFFENSES.

1/14/19 CASE DISMISSED.

16
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 17 of 52

Page 1 of 36

Law Enforcement Sensitive
Incidents (47)

Hide All Incident Details

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1040234144-00 5/8/2004 12:00:00 AM Incident Report 22 DARLINGTON ST B3
Subjects
Name DOB Involvement Current Home Address Employer Occupation

   

 

 

"ROSE" Suspect
PO NOLAN Reporter
DIOVANNI CARTER os Victim
MERCEDES ROSARIO Witness
Narratives

ON 05/08/04 OFFICER NOLAN ASSIGNED TO THE C421F UNIT RECEIVED A RADIO CALL FOR A FIGHT AT 16 DARLINGTON
ST. ON ARRIVAL OFFICER FOUND VICTIM, DIOVANNI CARTER, TO BE COVERED IN A CHEMICAL SUBSTANCE BELIEVED TO
BE BLEACH. HEALTH AND HOSPITALS WAS IMMEDIATELY CALLED, OFFICER LEARNED THE FOLLOWING: THE SUSPECT
KNOWN ONLY AS "ROSE" WAS DROPPING OF A MERCEDES ROSARIO AT 22 DARLINGTON ST TO ASSIST SOME FRIENDS IN
MOVING OUT OF THEIR APARTMENT(22 DARLINGTON ST)- SUSPECT,"ROSE",BEGAN TO LECTURE A YOUNG GIRL ON THE
STREET AROUT HER USE OF PROFANITY. VICTIM ,GIOVANNI CARTER, TOLD THE SUSPECT TO MIND HER OWN BUSINESS.
THE SUSPECT BEGAN TO SWEAR AT THE VICTIM WHICH RESULTED IN A HEATED VERSAL EXCHANGE BETWEEN THE TWO.
THE VICTIM THEN WALKED UP AND KICKED THE SUSPECT'S WHITE NISSAN ALTIMA( NO PLATE GIVEN). THE SUSPECT
THEN THREW BLEACH IN THE VICTIM'S FACE. BEFORE THE SUSPECT DROVE OFF THE VICTIM LANDED A PUNCH ABOUT THE
SUSPECT'S HEAD. HEALTH AND HOSPITALS AMBULANCE A3 ONSCENE TO RENDER AID TO VICTIM. OFFICER NOLAN WENT
TO 22 DARLINGTON ST AND TRIED TO LEARN THE NAME OF SUSPECT "ROSE". WHILE AT THE HOUSE A LORIE MAJORS OF
A cu UP SCREAMING " WHO HERE THREW BLEACH ON MY SON"? OFFICER NOLAN INSTRUCTED MS
AWAY FROM THE SCENE AND THERE WOULD NOT BE ANY FIGHTING WHILE THE POLICE WERE PRESENT.
MS MAJORS INSTRUCTED OFFICER NOLAN TO " GO FUCK YOURSELF” AND STATED” I'M GOING TO BE BACK FOR THE THIRD
FLOOR, SOMEBODY IS GOING TO GET FUCKED UP”. OFFICER NOLAN INSTRUCTED MS MAJORS TO AGAIN LEAVE OF FACE
ARREST. MS MAJORS TOLD OFFICER NOLAN TO "GO AHEAD, ARREST ME" BUT WALKED AWAY FROM THE RESIDENCE
SWEARING LOUDLY. OFFICER NOLAN SPOKE TO MERCEDES ROSARIO WHO STATED THAT THE SUSPECT WAS ONLY KNOWN
TO HER AS "ROSE" AND SHE WAS A FRIEND OF A FELLOW EMPLOYEE AT DANNY'S WIRELESS. ARRIAN SMITH OF 22
DARLINGTON ST STATED THAT SHE IS IN FEAR OF THE MAJORS FAMILY AND HAS HAD A LOT OF PROBLEMS WITH
NEIGHBORHOOD TEENS SINCE SHE HAS RESIDED THERE. TO BE FURTHER INVESTIGATED BY B3 DETECTIVES.

ABDW @ 22 DARLINGTON STOOK HIS CAR KEYS AND T

 

 

 

 

 

Incident # Occurred On Offense Reports Address District

1040294004-00 6/8/2004 12:00:00 AM Incident Report 205 ROXBURY ST & JOHN ELIOT SQ B2

Subjects

Name DOB Involvement Current Home Address Employer Occupation

COMM OF MASS Victim

SS:

ANA P.O, CAPELES Reporter

DARIUS CARTER 91 Suspect

 

DIOVANNI CARTER =" Suspect

 

 

Narratives

ON TUESDAY, 6/8/04 @ APPROX. 0730HRS, REPORTING OFFICER OBSERVED A FIGHT IN PROGRESS BETWEEN TWO
TIMILTY MIDDLE SCHOOL STUDENTS ON THE OUTSIDE PERIMETER OF THE SCHOOL. REPOR’ CER SEPERATED
BOTH SUSPECTS. SUSPECT #18/NH CARTER, DARIUS D.O.8 AND SUSPECT#2 B/NH

Sa SUSPECT#3 B/NH CARTER, DIOVANNI D.O.B APPROACHED THE FIGHT AND YELLED AT SUSPECT#¥2 ~
WATCH YOUR BACK THIS IS NOT OVER YET. “ AND TH ED TO BEAT HIM UP. SUSPECTS WERE SEEN BY THE SCHOOL
NURSE SUSPECT#1 EXTENT OF INJURY ABRASIONS TO THE RIGHT ELBOW AND NOSE BLEED. SUSPECT#2 NO INJURIES
SUSTAINED. PARENTS WERE CONTACTED BY SCHOOL NURSE AND RELEASED TO THE PARENTS UPON THEIR ARRIVAL TO
THE SCHOOL. A SCHOOL HEARING WILL BE CONDUCTED ON 6/9/04. SUSPECT#1 AND SUSPECT#2 SUMMONS FOR AFFRAY.
SUSPECT#3 SUMMONS FOR THREATS @ B.J.C.

SUSPECTS WERE INVOLVED IN A PHYSICAL ALTERCATION. AT ABOVE LOCATION,. TO A R/C FOR 4 M/V ACCIDE
KEY SITUATIONS: 3-Juvenile

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1040633178-00 ek 2004 12:00:00 Incident Report COLONIAL AV & TALBOT AV B3
‘ ’
about:blank 2/1/2019

BROCK-TMO-000255
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19

Page 18 of 52

Page 2 of 36

 

 

PICKED HIM UP FROM SCHOOL.
ARMED ROBBERY AT COLNIAL130 HAMILTON ST, #6 M/
KEY SITUATIONS; 3-Juvenile

 

Subjects

Name DOB Involvement Current Home Address Employer Occupation
UNK Suspect ’

CRAIG CARTER Reporter

DIOVANNI CARTER 89 Victim STUDENT
Narratives

ABOUT SPM ON 11/21/04 THE VICTIMS FATHER WALKED INTO DISTRICT 3 TO REPORT ON THURSDAY HIS SON (VICTIM)
WAS COMING HOME FROM SCHOOL AND AT COLONIAL AV AND TALBOT AVE 2 UNK BLACK MALES WITH A GUN ROBBED
HIM OF HIS JACKET AND CELL PHONE, VICTIM WAS ABLE TO GOT BACK HIS JACKET BACK BUT NOT HIS CELL PHONE.
VICTIM WAS TOLD BY SUSPECTS NOT TO TALK TO THIS UNK FEMALE. ON FRIDAY WHILE THE VICTIM WAS HEADED INTO
SCHOOL 1 UNK BLACK MALE AND 2 UNK HISPANIC MALES STANDING OUTSIDE OF SCHOOL APPROACHED THE VICTIM AND
WARNED HIS ABOUT TALKING TO THIS UNK FEMALE. VICTIM STATED SUSPECT STATED WE ARE GOING TO HURT YOU AND
A FIGHT BROKE OUT AND UNK SUSPECT TOOK HIS PHONE. VICTIM ATTENDS CHARLESTOWN HIGH SCHOOL. VICTIM
STATED THAT SUSPECT THREATENED TO WAIT FOR HIS OUTSIDE OF SCHOOL. VICTIM CALLED HIS MOTHER AND SHE

 

 

 

 

 

 

 

 

DISTRICT B-3 FOR BOOKING.
DISORDERLY ARREST HIS MV WAS VAND

 

Incident # Occurred On Offense Reports Address District
os *

1050049149-00 1/98/2008 12:00:00 Incident Report 1165 BLUE HILL AVE 83
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim
P.O, & CRISPIN Witness
P.O. M STACO Witness
P.O.ANDERSON Reporter
DIOVANNI CARTER © Suspect SERV PRO
DIOVANNI CARTER «2 Suspect STRIVE STUDENT
Narratives

ABOUT 11:55PM, P.O, ANDERSON AND DAROSA IN UNIT C1024 ALONG WITH UNITS C202A (CHRISPIN/STACO) WHILE
DOING CROWD CONTROL FROM THE CHEZVOUS SKATING RINK (11 RHOADES ST) LET OUT OF ABOUT 200 PEOPLE
ARRESTED THE SUSPECT DESCRIBED ASOVE FOR BEING DISORDERLY. THE LARGE CROWDS RELEASED FROM THIS
ESTABLISHMENT USUALLY RESULT IN NUMEROUS CALLS TO 911 FOR TEENS FIGHTING, BLOCKING THE STREET,
THROWING OBJECTS AT PASSING CARS AND GENERALLY CREATING A DISTURBANCE. ON THIS SPECIFIC NIGHT A GROUP
OF OVER 200 HUNDRED TEENS HAD BEEN RELEASED FROM CHEZ VOUS' AND THEY IMMEDIATELY STARTED BECOMING
RAUCOUS UPON LEAVING THE RINK, BLOCKING RHOADES ST, KICKING CARS ATTEMPTING TO PASS, FIGHTING, BLOCKING
BLUE HILL AVE, AND CREATING A DANGEROUS SITUATION BY FORMING CROWDS IN THE MIDDLE OF BLUE HILL AVE
RENDERING IT IMPASSABLE. ADDITIONALLY A CROWD OF OVER A HUNDRED TEENS BOARDED AN MBTA BUS AND
STARTED FIGHTING AND ATTEMPTING TO DESTROY THE INTERIOR OF THE BUS. OFFICERS IN AN EFFORT TO DISPERSE
THE CROWD STARTED ASKING THE GROUPS OF TEENS STANDING IN THE STREET TO GET OUT OF THE STREET AND GET
ON THE SIDEWALKS. THIS PARTICULAR SUSPECT DREW OFFICERS ATTENTION AS HE WAS HOLDING AUDIENCE TO A
LARGE GROUP INCITING THEM TO BEHAVE MORE RAUCOUSLY. SUSPECT WAS ASKED SEVERAL TIME BY OFFICERS TO
MOVE OUT THE MIDDLE OF THE STREET TO ALLOW TRAFFIC TO PASS TO WHICH HE REPLIED "FUCK YALL" AND STATED
THAT HE WAS NOT GOING ANY WHERE. THE SUSPECT WAS TOLD NUMEROUS TIMES TO REMOVE HIMSELF FROM THE
MIDDLE OF THE STREET AND HE REFUSED CONTINUING TO TALK BACK AT OFFICERS CAUSING A GROUP TO GATHER
AROUND AND START CHEERING. AT THAT POINT TRAFFIC CAME TO A HALT AND A LARGE CROWD STARTED TO GATHER
CAUSING A HAZARDOUS SITUATION TO THE TRAFFIC, CROWD AND OFFICER'S. THE SUSPECT WAS REPEATEDLY TOLD BY
OFFICERS TO LEAVE BEFORE HE WAS PLACE UNDER ARREST FOR DISORDERLY TO WHICH HE REPLIED "FUCK YALL JUST
DO WHAT VOU ARE GOING TO DO." THE SUSPECT WAS PLACED UNDER ARREST FOR DISORDERLY AND WALKED BACK TO

 

 

Occurred On Offense

1050094317-00 7 ean ae eeee

Incident #

 

Reports Address District

Incident Report DARLINGTON ST & SOUTHERN AV = B3

 

 

Subjects

Name DOB Involvement
P.O, SLAMIN / WORRELL Reporter
UNKNOWN Victim
DARIUS CARTER | Suspect

 

about:blank

Current Home Address Employer Occupation

'

 

 

2/1/2019
BROCK-TMO-000256
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 19 of 52

Page 3 of 36

DIOVANNI CARTER Hos «suspect SSS ae |

Narratives

ABOUT 18:14 PM ON TUESDAY, 02/22/05 OFFICERS SLAMIN AMD WORRELL ASSIGNED TO THE C103F RESPONDED TO A
PERSON WITH A GUN GALL AT DARLINGTON ST / SOUTHERN AVE. ON ARRIVAL OFFICERS OBSERVED TWO B/N MALES AT
THE CORNER OF SOUTHERN AVE / DARLINGTON ST WHERE INCIDENT WAS BROADCASTED AS LOCATION OF PERSON WITH
GUN. OFFICERS CONDUCTED THRESHOLD INQUIRIES AND FOR OFFICERS SAFETY PAT FRISKS OF BOTH INDIVIDUALS /
SUSPECTS. OFFICER WORRELL RECOVERED FROM SUSPECT #1 (DIOVANNI CARTER) ONE BLACK PLASTIC REPLICA SEMI
AUTOMATIC FIREARM FROM THE SUSPECTS LEFT JACKET POCKET. OFFICERS CANVASSED THE IMMEDIATE AREA FOR THE
VICTIM OF THE ALLEGED INCIDENT TO NO AVAIL, BOTH SUSPECT #1 AND #2 (DARIUS CARTER) FIO'D AND RELEASED
FROM THE SCENE. ALSO RESPONDING TO THE SCENE WERE THE C914 (SGT. GAVIN) AND THE C202F (PULCHANSINGH /
MELENDEZ).

REPORT OF INVESTIGATE PERSONS AT DARLINGTON ST/ SOUTHERN AVE DORCHESTER.ING A MY WITHOUT BEING
LICENSED.,ALLY JAMIE TAKEDA, SUSPECT OBTAINED

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1050122366-00 9/15/2008 12:00:00 Incident Report ci
Subjects
Name DOB Involyement Current Home Address Employer Occupation
P.O. TSE Reporter

Suspect SOUTH BOSTON HIGH STUDENT

 

 

 

 

 

BARRON HOLLIDAY [R87 Suspect SECURITY
DIOVANNI CARTER E89. Suspect

KENNETH M ROWELL [JSS = Suspect NONE
LAVAR CASEY Ex Suspect

Narratives

ABOUT 4:41PM P.O. TSE IN THE H443F AND P.O, TEIXEIRA IN THE H421F UNITS RECEIVED A RADIO CAL! FOR A GROUP OF
PEOPLE BANGING ON HER DOOR ATTEMPTING TO GET IN AT 708 WASHINGTON ST. UPON ARRIVAL OFFICERS WERE MET
BY THE Vic (DESCRIBED ABOVE), WHO WAS STANDING OUTSIDE. GRANT STATED A GROUP OF MALES
WERE BANGING AND KICKING ON HER THIRD FLOOR FRONT DOOR. AS P.O. TSE AND P.O. LAM (H411F) ENTERED THE
FRONT DOOR OF , FIVE BLACK MALES (SUSPECTS DESCRIBED ABOVE) BEGAN WALKING DOWN THE
STAIRS TOWARD : ERS STOPPED THE SUSPECTS AND ASKED THEM IF THEY RESIDE AT THIS
LOCATION. ALL THE SUSPECTS STATED “NO” AND STATED THEY WERE INVOLVED IN A FIGHT AT CODMAN SQUARE (REFER
CC# 050128305) AND THEY WERE BEING CHASED BY A SUSPECT. THEY FLED NTO oe AND ATTEMPTED
TO GAIN ENTRY INTO THE FOLLOWING UNITS ARRIVED ON SCENE DURIN! s HKOLF, HKO2F,
AND SGT. KERVIN (H913). VICTIM STATED AT ABOUT 4:35PM SOMEONE RANG HER DOORBELL. AFTER SHE BUZZED
OPEN THE FRONT DOOR SHE HEARD PEOPLE GOING UP THE STAIRS. ONE OF THE SUSPECTS ASKED THE VICTIM IF
SOMEONE HAD ENTERED HER APARTMENT? AFTER THE VICTIM ANSWERED "NO", SHE SHUT HER FRONT DOOR. AT THIS
TIME THE SUSPECTS BEGAN BANGING ON HER DOOR, CAUSING THE METAL DOOR TO DENT AND DAMAGES TO THE FRAME
AND LOCK. THE VICTIM THEN FLED OUT THE BACK DOOR AND CALLED THE POLICE. OFFICERS ALSO OBSERVED DROPS OF
BLOOD LEADING TO THE THIRD FLOOR. THE FOLLOWING SUSPECTS WERE PLACED UNDER ARREST FOR ATTEMPTED B&E,
TRESPASSING, AND WILLFUL AND MALICIOUS DESTRUCTION OF PROPERTY. BARRON HOLLIDAY, ANDRE TAYLOR, AND
KENNETH ROWELL DIOVANNI CARTER HAD A LACERATION TO HIS THUMB, AND LAVAR CASEY HAD A LACERATION TO HIS
RIGHT INDEX FINGER. THEY STATED THE INJURIES WERE FROM THE FIGHT AT CODMAN SQUARE AND THEY WERE
TRANSPORTED TO THE CARNEY HOSPITAL BY H&H A-11. DURING THE INVESTIGATION A BLACK HANDLE FOLDING KNIFE
WAS LOCATED AT THE THIRD FLOOR LANDING. THE KNIFE WAS HELD FOR EVIDENCE AT C-11 LOGGED INTO BOOK 33,
PAGE 97.

ATTEMPTED B&E ARRESTSICK ASSIST AT 564

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1050136295-00 3/17/2005 12:00:09 TRESPASSING incident Report ci
Subjects
Name DOB Involvement Current Home Address Employer Occupation
ALL UNK'S AT THIS TIME (REMAINING 3
SUSPECT'S) aepe is
UNK NAME Victim | ine =)
SERV
DIOVANNE CARTER Es: spt oo
DIOVANNI CARTER EE ©° Suspect STRIVE STUDENT
about:blank 2/1/2019

BROCK-TMO-000257
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 20 of 52

Page 4 of 36

Suspect
—— NONE
R. P.O. MEDINA Reporter erat

Narratives

ABOUT 20:31PM THURSDAY, 03/17/2005 OFFICER MEDINA IN THE H436F UNIT ALONG WITH H102F UNIT OFFICERS RILEY
i H676F OFFICER DORSEY; H411F OFFICER LAM; H421F OFFICER TEIXEIRA; AND H908 SGT, HOLLAND RESPONDED
FOR A GROUP OF 6 MALES WEARING MASK TRYING TO BREAK IN TO AN APARTMENT. UPON

ye AL EDINA OBSERVED THREE BLK./ NON-HISP MALES WALKING FROM BEHIND THE ABOVE LOCATION,
OFFICER MEDINA ORDERED THE SUSPECTS TO STOP, TWO SUSPECTS AT THIS TIME BEGAN TO RUN. OFFICER MEDINA AT
THIS TIME NOTIFIED OPERATIONS OF DIRECTION OF FLIGHT AND STOPPED ONE OF THE MALES LATER IDENTIFIED AS MR.
DUANTE BEAL. WHILE SPEAKING TO MR. BEAL ANOTHER TWO SUSPECTS BEGAN TO WALK FROM BEHIND THE ABOVE
LOCATION. OFFICER MEDINA AT THIS TIME ORDERED THE TWO SUSPECTS TO STOP AND AT WHICH TIME THE TWO
SUSPECTS IGNORED OFFICERS COMMANDS AND BEGAN TO WALK BACK BEHIND THE ABOVE LOCATION. OFFICER DORSEY
WAS PULLING UP ON SCENE WHILE THE TWO SUSPECTS WHERE WALKING AWAY. OFFICER DORSEY WAS ABLE TO STOP
ONE OF THE SUSPECTS WHO WAS LATER IDENTIFIED AS MR. DIOVANNI CARTER, OFFICERS MEDINA AND DORSEY BEGAN
TALKING TO BOTH SUSPECTS AS TO WHAT THEY WHERE UP TO AND BOTH SUSPECTS AT THIS TIME STATED THEY WHERE
JUST CUTTING THROUGH. OFFICER MEDINA AT THIS TIME TRIED THE CALL BACK TO SEE IF A BETTER DESCRIPTION
COULD BE GIVEN OF THE SUSPECTS AND TO GIVE A BETTER LOCATION TO WHICH APARTMENT WAS BROKEN INTO. THE
CALLER AT THIS TIME REFUSED TO ASSIST FURTHER WITH THE INVESTIGATION. OFFICER MEDINA CHECKED BEHIND THE
ABOVE LOCATION AND OBSERVED NO VISIBLE DAMAGE. WHILE CHECKING THE REAR OF THE ABOVE LOCATION OFFICER
MEDINA WAS APPROACHED BY A WHITE/ HISP FEMALE WHO RESIDES IN OF THE ABOVE LOCATION AND
DID NOT WANT TO GIVE HER NAME STATING THAT SOME UNK PERSON( NN HER DOOR. THE UNK FEMALE
THEN STATED THAT SHE DID NOT SEE WHO WAS BANGING ON HER DOOR, THE ABOVE LOCATION ARE POSTED WITH NO
TRESPASSING SIGNS. BOTH SUSPECTS AT THIS TIME WAS PLACED UNDER ARREST FOR TRESPASSING. OFFICER MEDINA
WHILE PLACING THE ABOVE SUSPECTS IN THE WAGON OBSERVED THE OTHER SUSPECT WHO WAS WITH MR. DIOVANNI
NOW STANDING ON THE FRONT PORCH OF OFFICER MEDINA AT, ; ‘CED

NODER ARREST ALSO FOR TR E BOOKING AREA AD A BLK. KNIT
HAT/ MASK ON HIS PERSON. KNIT HAT / MASKED CONFISCATED AND TURNED IN AS EVIDENCE. KNIT HAT / MASK LOGGED
INTO EVIDENCE BOOK #33 PAGE #104. TO BE FURTHER INVESTIGATED. REMAINING SUSPECTS MADE GOOD THERE
ESCAPE,

TRESPASSING ARRESTSION OF CLASS D,

 

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District

1050160365-00 3/20/2008 42:00:00 Incident Re a3

Subjects

Name bos Involvernent Current Horne Address Employer Occupation

COMM OF MASS Victim

DIOVANNI CARTER WS2 Suspect = SERV PRO

DIOVANNI CARTER HE s° Suspect SESS STRIVE STUDENT

RICHARD L. P.O. MEDINA Reporter == |

Narratives

ABOUT 20:25PM WEDNESDAY, 03/30/2005 OFFICERS MEDINA & SWEET IN THE H1LOGF UNIT WHILE ON PATROL IN THE
CODMAN SQ SECTION OF DORCHESTER OBSERVED THE ABOVE SUSPECT MR. DIOVANNI CARTER SITTING ON THE RAILING
IN FRONT OF 569 WASHINGTON ST (CITIZENS BANK). THE ABOVE SUSPECT MR. DIOVANNI CARTER THE NIGHT BEFORE
ON TUESDAY, 03-29-05 WAS MADE AWARE OF THE NO TRESPASSING SIGNS POSTED ON THE BUILDING BY OFFICER
MEDINA AND ADVISED HIM NOT TO HANG OUT IN FRONT OF THE BANK AFTER HOURS OR BE SUBJECT TO ARREST. MR.
DIOVANNI CARTER UPON SEEING POLICE CRUISER GOT UP FROM RAILING AND BEGAN WALKING AWAY FROM THE ABOVE
LOCATION. OFFICER MEDINA CALLED OUT TO THE ABOVE SUSPECT MR. DIOVANNI CARTER TO GO HOME AND AT WHICH
TIME MR. DIOVANNI STATED OUT LOUD "FUCK YOU". OFFICER MEDINA AT THIS TIME TRIED TO STOP MR, DIOVANNI AND
AFTER A BRIEF CAT AND MOUSE GAME ENLISTED THE ASSISTANCE OF AREA C-11 UNITS. AFTER A BRIEF CHASE THE
ABOVE SUSPECT WAS STOPPED IN FRONT OF 14 SOUTHERN AVE. THE ABOVE SUSPECT PLACED UNDER ARREST FOR
TRESPASSING AND TRANSPORTED TO AREA C-11 FOR BOOKING. THE ABOVE SUSPECT IS KNOWN TO OFFICER MEDINA TO
HAVE A 08:00PM CURFEW. THE TIME OF ARREST WAS 08:25PM. THE ABOVE SUSPECT ORDERED HELD BY PROBATION
OFFICER NAGLE. TO BE FURTHER INVESTIGATED.

TRESPASSING ARRESTN AVCONTROL UNIT

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1050229672-00 5/5/2005 12:00:00 AM cident port I <1
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim 40 GIBSON ST,BSTN N/A
P.O. WAYNE P. BROWN Reporter 40 GIBSON ST,BSTN
about:blank 2/1/2019

BROCK-TMO-000258
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 21 of 52

Page 5 of 36

| OIOVANNI CARTER i At Suspect i= |

Narratives
ON THURSDAY MAY STH, 2005 AT ABOUT 18:26PM OFFICER BROWN IN THE H431F ON PATROL OF THE WASHINGTON
ST/CODMAN SQ AREA ON-CITED A GROUP AT THE CORNER OF LYNDHURST ST/WASHINGTON ST DORCHESTER. OFFICER
EXITED MARKED BOSTON POLICE CRUISER & MOVED THE GROUP ALONG, WHILE STILL IN THE CODMAN SQ AREA
(WASHINGTON ST BETWEEN KENWOOD ST/LYNDHURST ST) OFFICER OBSERVED SUSPECT (DIOVANNI CARTER orgy

IN FRONT SUBWAY RESTAURANT (560 WASHINGTON ST, DOR CODMAN SQ AREA).
OFFICER VERBALLY AS HE SUSPECT (DIOVANNI CARTER) TO LEAVE THE AREA, THE SUSPECT STATED TO OFFICER
THAT "HE WASN'T GOING LEAVE, I CAN BE UP HERE”. OFFICER VERBALLY STATED TO (DIOVANNI CARTER) TERMS OF HIS
PRETRIAL HEARING FROM DORCHESTER DISTRICT COURT (STAY AWAY FROM LYNDHURST ST/WASHINGTON ST, STAY
AWAY FROM IN FRONT OF SUBWAY'S, ASPINWALL ST/WASHINGTON ST, & THE CODMAN SQUARE AREA, THE SUSPECT HAS
A 8PM CURFEW). THE SUSPECT WAS ALSO OBSERVED HANGING IN FRONT OF 544 WASHINGTON ST/546 WASHINGTON ST
APARTMENTS ABOUT TEN MINUTES LATER WHERE A (NO TRESPASSING) SIGN IS CLEARLY DISPLAYED. OFFICER WAS
GOING TO PLACE SUSPECT (DIOVANNI CARTER) UNDER ARREST, BUT SUSPECT RAN INSIDE OF 544 WAHINGTON ST & THE
FRONT MAIN DOOR LOCK BEHIND HIM, OFFICER SEARCHED THE HALLWAY OF 544 WASHINGTON ST DOR TO NO AVAIL.
SUSPECT (DIOVANNI CARTER) PROBATION OFFICER THOMAS TODD WILL BE NOTIFIED & GIVEN A COPY OF INCIDENT
REPORT.
INVESTIGATE PERSON AT WASHINGTON ST/LYNDHURST ST DORCHESTER. REARMAND POSSESION OF FIRARM W/O AN FID
CARD. 2 OTHER MALES

 

 

 

 

 

 

 

 

 

 

Incident # Qccurred On Offense Reports Address District
nn 5/10/2005 12:00:00 ¢ 558 WASHINGTON ST & 547

1050239053-00 4), Incident Report wastINGTON ST a
Subjects
Name DOB Involvernent Current Home Address Employer Occupation
COMM OF MASS Victim ’
DIOVANNI CARTER G89 Suspect SSS) SERV PRO
DIOVANNI CARTER G89 Suspect SSS | STRIVE STUDENT
RICHARD L. P.O. MEDINA Reporter 40 GIBSON ST,BSTN
Narratives

ABOUT 17:26PM TUESDAY, 05/10/2005 OFFICER MEDINA IN THE H445F UNIT WHILE ON PATROL IN THE CODMAN SQ.
SECTION OF DORCHESTER DID OBSERVE A GROUP OF ABOUT 8 TO 12 BLK. / NON HISP MALES WHO SOME ARE KNOWN
OFFICER MEDINA AS BEING A NUISANCE TO STORE OWNERS AND THERE CUSTOMERS GATHERING OUT FRONT OF S47
WASHINGTON ST BLOCKING THE ENTRANCE TO THE STORE (ROSEDALE MARKET) AS WELL AS THE FREE FLOW OF
PEDESTRIAN TRAFFIC. OFFICER MEDINA ON NUMEROUS OCCASIONS HAS WARNED THE GROUP THEY COULD NOT BLOCK
THE ENTRANCES TO THE STORES. OFFICER MEDINA AT THIS TIME "AGAIN EXPLAINED TO THE GROUP OF MALES THAT
THEY COULD NOT BLOCK THE ENTRANCE TO STORES AS WELL AS IMPEDE THE FLOW OF THE PEDESTRIAN TRAFFIC. THE
MAJORITY OF THE GROUP AT THIS TIME BEGAN TO WALK AWAY WITH THE EXCEPTION OF A FEW WHO JUST STOOD THERE
AS IF NO ONE WAS TALKING TO THEM, OFFICER MEDINA AGAIN EXPLAINED TO THE GROUP THAT THEY HAD TO MOVE
ALONG AND STOP BLOCKING THE ENTRANCE TO 547 WASHINGTON ST. OFFICER MEDINA THEN EXPLAINED THAT THERE
ACTION'S AMOUNTED TO A BREACH OF THE PEACE AND IF THEY DID NOT DISPERSE WOULD BE SUBJECT TO ARREST. THE
REMAINING GROUP AT THIS TIME BEGAN TO LEAVE, NOT BEFORE THE ABOVE SUSPECT MR. CARTER GAVE OFFICER
MEDINA A LECTURE ABOUT HIS RIGHTS AND WHAT OFFICER MEDINA CAN DO OR CAN'T DO. OFFICER MEDINA AT THIS
TIME OBSERVED THE GROUP CROSS THE STREET AND STOP IN FRONT OF 558 WASHINGTON ST (CARIBBEAN MARKET)
AGAIN BLOCKING THE ENTRANCE TO A STORE. UPON OBSERVING THIS AND AFTER EXPLAINING TO THEM THAT THEY
COULD NOT BLOCK THE ENTRANCE TO STORES CONFRONTED THE GROUP, OFFICER MEDINA "AGAIN" EXPLAINED TO THE
GROUP THAT THEY COULD NOT BLOCK THE ENTRANCE TO STORE'S AND TOLD THEM TO MOVE ALONG. THE ABOVE
SUSPECT MR. CARTER AT THIS TIME STATED OUT LOUD, “FUCK YOU" CAUSING PASSERBYE'S TO GET STARTLED. THE
ABOVE SUSPECT THEN BEGAN TO ENTER THE STORE. OFFICER MEDINA AT THIS TIME EXPLAINED TO THE ABOVE SUSPECT
HE WAS NOT FREE TO LEAVE AND FOLLOWED HIM INTO THE STORE. ONCE IN THE STORE THE ABOVE SUSPECT AGAIN IN
A LOUD VOICE BEGAN TO LECTURE OFFICER MEDINA ABOUT HIS RIGHT'S AND WHAT OFFICER MEDINA CAN DO OR CAN'T
DO. CUSTOMER'S IN THE STORE AT THIS POINT BECAME STARTLED AND BEGAN TO LEAVE. AFTER GOING BACK AND
FORTH WITH THE ABOVE SUSPECT, OFFICER MEDINA PLACED THE ABOVE SUSPECT UNDER ARREST AND TRANSPORTED TO
AREA C-11 FOR BOOKING.

DISTURBING THE PEACEALLETHT WARRANT FO

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1050249699-00 9/16/2008 12:00:00 Incident Report 544 WASHINGTON ST cul
Subjects
Name DOB Involvement Current Home Address Employer Occupation
WINN MGMT / COMM OF MASS Victim eS ee]

 

 

DIOVANNI CARTER es Suspect
JEFF GROSS Witness

 

about:blank. 2/1/2019
BROCK-TMO-000259
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 22 of 52

Page 6 of 36

JOSHUA SPO VELEZ Reporter (See |
MATTHEW RING vines

 

Narratives

ON 5-16-2005 OFFICERS WERE ON UNIFORM PATROL OF THE CODMAN SQUARE AREA WHERE WE ENCOUNTERED A YOUNG
BLACK MALE ON THE FRONT STEPS OF S44 WASHINGTON STREET. OFFICERS BEGAN TO ASCERTAIN THE INFORMATION OF
THE YOUNG MAN. (DIOVANNI CARTER 00B , SS# areevraraarh YOUNG MAN STATED THAT HE WAS THERE
TO VISIT HIS COUSIN "SHARON" IN APARTMENT #2. OFFICERS HAVE KNOWN THAT APARTMENT TO BE A LOCATION
WHERE NARCOTICS USERS ARE FREQUENTLY VISITING. A PAT FRISK WAS CONDUCTED FOR OFFICERS SAFETY,. AND
THERE WERE NO WEAPONS OR CONTRABAND FOUND ON THE INDIVIDUAL. THE INDIVIDUAL WAS RELEASED WITH NO
INCIDENT. UPON LEAVING THE PROPERTY, OFFICERS FOUND A CLEAR BAGGIE ON THE SIDEWALK CONTAINING A GREEN
LEAFY SUBSTANCE THAT OFFICERS BELIEVED TO BE MARIJUANA. THE FOUND CONTROLLED SUBSTANCE WAS TAKEN TO
DISTRICT C-11 AND LOGGED INTO DRUG BOOK #38, PAGE 386 FOR ANALYSIS.

ON THE LISTED DATE AND TIME, AN FIO WAS CONDUCTED ON THE NAMED INDIVIDUAL.DGUNAND THEN THE CHILD FLED
HOME.VICTIM HE WAS A BOSTON POLICE OFFICER

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District

1050272077-00 7427/2008 12:00:00 Incident Report 544 WASHINGTON ST cl

Subjects

Name DOB Invalvement Current Home Address Employer Occupation

COMM OF MASS Victim ES N/A

P.O BROWN/MEDINA Reporter SSE

DIOVANNI CARTER cs Suspect ——SSa=s

Narratives

ON FRIDAY MAY 27TH, 2005 AT ABOUT 17:44PM OFFICER BROWN & MEDINA WHILE ON PATROLING THE WASHINGTON

ST/CODMAN SQ AREA OBSERVED SUSPECT (DIOVANNI CARTER OF 1 ) STANDING IN

FRONT OF S44 WASHINGTON ST CODMAN SQ AREA. UNDER THE CON ROBATION TERMS

FROM HIS PROBATION OFFICER RON WHITEHEAD, (DIOVANNI CARTER) MUST STAY AWAY FROM 500 BLOCKS OF
WASHINGTON ST, & CODMAN SQUARE AFTER 4:00PM. DIOVANNI CARTER WAS CLEARLY BREAKING HIS CONDITIONS OF
PROBATION BY STANDING IN FRONT OF 544 WASHINGTON ST & WAS IN THE CODMAN SQ AREA AT 5:44PM, DIOVANNI
CARTER FLED INTO 544 WASHINGTON ST WHEN HE SAW OFFICER'S BROWN/MEDINA.

INVESTIGATE PERSON AT 544 WASHINGTON ST, DORCHESTER. .K PERSON/S SMASHED THE WINDOW,THEN ENTERED
VEHICL

KEY SITUATIONS: 3-Juvenile

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
enn 5/28/2005 12:00:00 : 544 WASHINGTON ST &
1050274367-00 41) Incident Report | vADHURST ST oe
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim ‘
P.O'S MEDINA & BROWN Reporter 40 GIBSON ST,BSTN

 

DIOVANNI CARTER mz: Suspect = Ses

 

Narratives

ABOUT 21:28PM SATURDAY, 05/28/2005 OFFICERS MEDINA & BROWN IN THE H102F UNIT WHILE ON PATROL ON
WASHINGTON ST IN THE CODMAN SQ SECTION OF DORCHESTER MA, DID OBSERVED THE ABOVE SUSPECT MR. DIOVANNI
CARTER WHO IS WELL KNOWN TO BOTH OFFICERS FOR HAVING A STAY AWAY ORDER FROM THE 500 BLOCKS OF
WASHINGTON ST AS WELL AS CODMAN SQ. WHICH TAKES EFFECT AFTER 04:00PM HANGING ON THE CORNER OF
WASHINGTON ST & LYNDHURST ST. MR. DIOVANNI CARTER ALSO HAS A 07:00PM CURFEW. OFFICERS AT THIS TIME
ALERTED MR. CARTER THAT WE WHERE AWARE OF THE CONDITIONS OF PROBATION WHICH WHERE SET BY PROBATION
OFFICER RON WHITEHEAD AND WHERE GOING TO REPORT THE VIOLATION TO MR. WHITEHEAD. MR. DIOVANNI CARTER
AT THIS TIME SHOWED OFFICER'S HIS MIDDLE FINGER AND STATED, "FUCK YOU". MR. CARTER AT THIS TIME FLED THE
AREA. TO BE FURTHER INVESTIGATED.

INVESTIGATE PERSONT. ASAULTED WIT

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
roe 2 544 WASHINGTON ST & 00
1050296851-00 6/8/2005 12:00:00 AM Incident Report LYNDHURST ST cil
about:blank 2/1/2019

BROCK-TMO-000260
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 23 of 52

 

Page 7 of 36
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim 40 GIBSON ST,BSTN
DIOVANNI CARTER WSS Suspect Se =
TRENT SGT HOLLAND Reporter ——s

 

 

 

Narratives

SGT. HOLLAND ASSIGNED THE H908 AT 7:30PM ON PATROL IN THE AREA OF S44 WASHINGTON AND LYNDHURST
STREETS, OBSERVED THE ABOVE SUSPECT SITTING ON A SILVER COLORED ELECTRICAL BOX. APPROXUMATELY 9:00PM I
SPOKE TO OFFICER RICHARD MEDINA CONCERNING THIS JUVENILE AND WAS INFORMED HE HAS A 4:00PM CURFEW AND
COURT ORDER TO STAY AWAY FROM THE ABOVE AREA. THE SUSPECT IS ALSO UNDER A COURT MONITORING DEVICE.

CURFEW VIOLATION/PROBATION VIOLATIONIT UNDER THE DIRECTION OF SGT. DET-
KEY SITUATIONS: 3-Juvenile

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1050298623-00 6/9/2005 12:00:00 AM Incident Report WASHINGTON ST & LYNDHURST ST Cll
Subjects
Name pos Involvement Current Home Address Emplayer Occupation
COMM OF MASS Victim ’
P.O, RODRIGUEZ E Reporter 40 GIBSON ST,BSTN
SERGEANT TRENT HOLLAND Witness 40 GIBSON ST,BSTN

DIOVANNI CARTER WS Suspect a ee i a

 

Narratives

ABOUT 6:15 PM OFFICER RODRIGUEZ IN THE H6S8F ALONG WITH THE H908 SGT. HOLLAND DID OBSEREV THE ABOVE
LISTED SUSPECT AT THE INTERSECTION OF WASHINGTON ST AND LYNDHURST ST. THIS SUSPECT DIOVANNI CARTER HAS
AN ACTIVE STAY AWAY ORDER FROM THE 540 WASHINGTON ST AREA. THE SUSPECT ALSO HAS A 6:00 PM CURFEW WHICH
HE WAS IN VIOLATION OF AND AN ACTIVE ANKLE BRACELET (MONITORING DEVICE) THE SUSPECT WAS STOPPED AND
FIO'D BY OFFICER RODRIGUEZ AND SGT HOLLAND. THE SUSPECT'S NEXTEL PHONE WAS USED TO CALL
AREA C-11 FOR THE PURPOSE OF A TIME STAMP. JUVENILE PROBATION TO BE CONT, .O. WHITEHEAD.

PROBATION VIOLATION, IN VIOLATION OF CURFEW AND STAY AWAY ORDERD CHINS PETITIONYOCATED AT 360 CENTRE
ST. IN JAMAICA PLAIN.

KEY SITUATIONS: 3-Juvenile

 

 

 

 

1050319874-00 yg /7008 22100508 Incident Reoort cu

Incident # Occurred On Offense Reports Address District

 

 

 

Subjects

Name DOB Involvernent Current Home Address Employer Occupation
PO'S LYDON/FITZPATRICK Reporter 40 GIBSON ST,BSTN

UNK Suspect UNKOWN,UNKOWN

DARIUS CARTER HS) Suspect UNEMPLOYED

DIOVANNI CARTER 89 Suspect ———— SERV PRO

DIOVANNI CARTER G29 Suspect STRIVE STUDENT

—_ ae fea ===.
Suspect

Narratives

ABOUT 1252 HRS ON MONDAY,06/20/05, OFFICERS LYDON/FITZPATRICK IN THE H104D UNIT ASSISTED BY THE HKO1D
(RICE/BLICKER),H415D(CHAU),H432D(LINEHAN) AND THE H425D(CANUTO), RESPONDED TO A RADIO CALL FOR A
ROBBERY IN PROGRESS AT 569 WASHINGTON ST,CITIZENS BANK, DORCHESTER. HKO1D ARRIVED ON SCENE FIRST AND
SPOKE TO vic ee STATED THAT FIVE BLACK MALES CONFRONTED HIM IN FRONT OF

ONE OF THE M. je RIBED AS WEARING A GREY HOODIE AND BALL CAP ASKED VICTIM, "
VICTIM DID NOT RESPOND THEN MALE STATED,"YOU KNOW WHAT THIS 1S." VICTIM STATED HE BEGAN TO RUN AWAY
FROM GROUP ON WASHINGTON ST AND TURNED ONTO ASPINWALL ST WITH HE GROUP IN PURSUIT OF HIM. VICTIM THEN
STATED THAT SUSPECT WITH GREY HOODIE AND ANOTHER MALE WEARING ALL BLACK GRABBED HIM FROM BEHIND AND
BEGAN HTIING HIM ABOUT THE FACE AND BODY. SUSPECT FELL TO THE GROUND WHERE THE TWO SUSPECTS BEGAN
REACHING IN THE POCKETS OF HIS SHORTS GRABBING HIS BROWN GUCCI WALLET AND CELLPHONE. VICTIM STATED
THAT HE GRABBED HIS WALLET FROM THE HANDS OF THE SUSPECT WITH THE GREY HOODIE AND THE CELLPHONE FELL
TO THE GROUND BEFORE Tr COULD BE TAKEN FROM HIM. WHILE HE WAS BEING ASSAULTED VICTIM OBSERVED ANOTHER
MALE WHO HAD CONFRONTED HIM ON WASHINGTON ST SITTING ON A BIKE OBSERVING THE ROBBERY OCCUR. THIS

 

 

 

 

 

about:blank 2/1/2019

BROCK-TMO-000261
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 24 of 52
Page 8 of 36

SUPECT DESCRIBED AS BLACK MALE WEARING ORANGE/BLK SHIRT/SHORTS ON A BLUE/SILVER BIKE. VICTIM STATED
THAT SUSPECTS THEN FLED DOWN ASPINWALL ST. OTHER TWO SUSPECTS FROM WASHINGTON ST COULD NOT BE
DESCRIBED BY VICTIM. WHILE LOOKING IN THE AREA THE HKO1D DROVE DOWN DUNLAP ST,A FEW BLOCKS AWAY,
WHERE THEY OBSERVED A GROUP OF BLACK MALES STANDING AROUND THE FRONT PORCH OF 39 DUNLAP ST. OFFICERS
CALLED OFF AT ABOVE ADDRESS AND WERE MET THERE BY THE H432D,H425D AND THE H104D. THE H415D MET UP WITH
VICTIM AT ASPINWALL ST/WASHINGTON ST. UPON ARRIVING AT 39 DUNLAP ST, THE OFFICERS OBSERVED A BLACK MALE
ON A BIKE WEARING BLK/ORANGE COLORED SHIRT/SHORTS, A BLACK MALE WITH A GREY HOODIE AROUND HIS NECK
WITH BLUE JEANS SHORTS,BLK SHIRT AND BLK/WHT/YELLOW BALLCAP AND A BLACK MALE WEARING ALL BLACK SHIRT
AND PANTS. THIS MALE BEAGN TO WALK AWAY FROM PORCH AS OFFICERS ARRIVED, THE HKO1D OBSERVED ANOTHER
BLACK MALE WEARING A WHITE T-SHIRT RUN FROM THE SCENE TO THE REAR OF ADDRESS AND COULD NOT BE LOCATED.
THE H41SD PLACED VICTIM IN HIS CRUISER AND TRANSPORTED HIM TO THE CORNER OF DUNLAP ST/WHITFIELD ST TO
ATTEMPT AN INDENTIFICATION OF SUSPECTS. VICTIM ARRIVED ON SCENE WHERE HE STATED TO OFFICER CHAU THAT
THE BLK MALE WITH THE ORANGE/BLK SHORTS/SHIRT WAS THE SUSPECT ON THE BIKE FROM THE ROBBERY SCENE AND
THE BLK MALE WITH THE 8LK SHIRT,JEAN SHORTS AND BLK/YELLOW/WHITE HAT WITH GREY HOODIE WAS THE SUSPECT
WHO MADE STATEMENTS TO HIM,CHASED HIM AND ROBBED HIM OF HIS WALLET. BOTH SUSPECTS PLACED UNDER
ARREST BY OFFICERS. AS OFFICERS WERE SPEAKING WITH VICTIM,WHO WAS STILL IN THE CRUISER, THE BLK MALE
WEARING THE BLK SHIRT AND BLK JEANS WAS SEEN WALKING DOWN THE OPPOSITE SIDE OF DUNLAP ST BY THE VICTIM.
VICTIM STATED TO OFFICERS THAT THIS WAS THE OTHER SUSPECT WHO CHASED HIM DOWN,HIT HIM AND ROBBED HIM.
SUSPECT PLACED UNDER ARREST. THREE SUSPECTS TRANSPORTED TO C-11 AND BOOKED WITHOUT INCIDENT. SUSPECT
WEARING ALL BLK IDENTIFIED AS DIOVANNI CARTER. BLK MALE WEARING ORANGE/BLK SHORTS AND SHIRT IDENTIFIED

AS DARIUS CA WITH GREY HOODIE AROUND NECK,BLUE JEAN SHORTS AND BLK/WHT/YELLOW HAT
IDENTIFIED AS FIO'S COMPLETED FOR SUSPECTS. VICTIM DECLINED EMS, VICTIM'S PROPERTY
RECOVERED.

RADIO CALL FOR ROBBERY IN PROGRESS o_o] AND CORRECT TEXT.VE . TO D-4 FOR

BOOKING.CLE WITHOUT A LICEN

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
2:00:
1050464505-00 Sent COE EOD Incident Report [a 83
Subjects
Name DOB Involvement Current Home Address Employer Occupation
PO PULCHANSINGH Reporter 1165 BLUE HILL AVE,BSTN
DIOVANNECARTER 69 suspect SERV PRO

DIOVANNICARTER [MMJS9 «Suspect ES STRIVE STUDENT
— — |

Narratives

ABOUT 1827 OFFICER PULCHANSINGH C421F RESPONDED TO A R/C FOR A FIGHT AT 11 DUNLAP STREET DORCHESTER.
C431F OFFICER MITCHELL ALSO RESPONDED AND SPOKE TO THE CALLER WHO STATED SHE JUST SAW THE PERSON WHO
STOLE HER BROTHER SCOOTER, OFFICER MITCHELL GAVE A BRIEF DESCRIPTION AND THE SUSPECT WAS OBSERVED AT
ASPINWALL STREET AND WASHINGTON. OFFICERS DETAINED THE SUSPECT WHO WAS ON A BICYCLE. OFFICER SPOKED
TO THE WITNESS WHO STATED ABOUT 1430 HOURS SHE SAW A BLACK MALE TAKE A SCOOTER FROM THE REAR OF HER
HOUSE AT 11DUNLAP STREET AND SHE CONFRONTED THE SUSPECT WHO FLED WITH THE MOPED, WITNESS FUTHER
STATED SHE CONTACTED HER BROTHER WHO STATED HE DID NOT GAVE PERMISSION TO ANYONE TO USE HIS SCOOTER.
WITNESS ALSO STATED THE SCOOTER’ WAS VALUED OVER ONE THOUSAND DOLLARS US CURRENCY. WITNESS OBSERVED
THE SUSPECT AND CONTACTED OFFICERS, WITNESS POSITIVELY IDENTIFIED THE SUSPECT AS THE PERSON TAKING THE
SCOOTER. SUSPECT WAS TRANSPORTED TO AREA B-3 FOR BOOKING IN THE USUAL MANNER BY THE C202F. SUSPECT
BICYCLE A SILVER COLORED PACIFIC BICYCLE WAS BROUGHT TO AREA B-3 AS HIS PROPERTY. OFFICER SPOKE TO VICTIM
WHO STATED HE RECOVERED HIS SCOOTER AT WHITFIELD AND ROSEDALE STREET, AND CONFIRMED THE SCOOTER WAS
STOLEN. VICTIM ALSO STATED THE SCOOTER HAD SCRAPES ALL OVER AND THE FRONT END WAS REMOVED ALLOWING IT
TO BE OPERATED.

LARCENY OVERENTERING M/

KEY SITUATIONS: 8-Others

 

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
7 10/4/2005 12:00:00 LARCENY THEFT FROM .
1050533687-00 4.) BUILDINGS Incident Report B3
Subjects
Name DOB Involvement Current Home Address Employer Occupation
CITY OF BOSTON Victim ,
CAROLE MAJOR — |
CRAIG M CARTER SS Witness
DIOVANNECARTER [N©9 Suspect
LowemAon — N71 Witness
about:blank 2/1/2019

BROCK-TMO-000262
 

 

 

Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 25 of 52

 

 

Page 9 of 36
l |
Narratives
ON 10/04/05 AT APPROXIMATELY 9:30 PM C908 SGT KERN, ALONG WITH C101F (PO DOHERTY AND MCLEAN), RESPONDED
TO FOR AN ABANDON RESIDENCE RADIO CALL. IT WAS LEARNED THAT THE ABOVE INCIDENT WAS
A A STOLEN FIREARM. THE ABOVE VICTIM (MAJOR) REPORTED THAT HER SECURED DEPARTMENT

ISSUED FIREARM WAS STOLEN FROM HER BEDROOM SOMETIME AROUND 5;00 PM THIS DATE BY HER GRANDSON
(SUSPECT DIOVANNI CARTER-CONFIRMED BY THE SUSPECT'S PARENTS). THE VICTIM NOTICED THE FIREARM MISSING
ABOUT 9:30 PM AND SHE IMMEDIATELY CALLED THE POLICE, ALSO TAKEN WAS ONE GLOCK MAGAZINE WHICH
CONTAINED FIVE ROUNDS, IT WAS LEARNED THAT THE SUSPECT'S FATHER, CRAIG CARTER, MET WITH THE SUSPECT IN
THE CODMAN SQUARE AREA AND RETRIEVED THE FIREARM, BUT THE SUSPECT THEN FLED ON HIS BIKE. ABOUT 9:50 PM
CRAIG CARTER ARRIVED AT AND ALERTED PO DOHERTY THAT HE HAD THE FIREARM IN THE TRUNK
OF HTS VEHICLE. PO DOHERTY RETRI . THE FIREARM HAD FIVE ROUNDS IN THE MAGAZINE BUT NO ROUNDS IN
THE CHAMBER, SGT KERN TOOK CUSTODY OF THE WEAPON. THE SUSPECT'S DESCRIPTION WAS BROADCAST. THE C983
(SGT DETECTIVE ROBERTSON) WAS NOTIFIED AND WILL FURTHER INVESTIGATE THIS INCIDENT WITH SGT KERN.
SUPERINTENDENT JOHNSON (YC5), CAPTAIN MICHAEL BRODERICK, AND SGT DETECTIVE DUGGAN (X913) WERE ALSO
NOTIFIED OF THE INCIDENT. A FORM 26 WILL BE COMPLETED. THE FIREARM WILL BE STORED IN THE B3 GUN LOCKER
PENDING CONTACT WITH BALLISTICS. :

KEY SITUATIONS: 3-Juvenile 8-Others 15-Gun

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1050533687-01 47/7/2005 12:00:00 Incident Report B3
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victin ‘

DIOVANNI CARTER HE <9. Suspect =r! SERV PRO
DIOVANNI CARTER HE s9 Suspect Az >| STRIVE STUDENT

 

Narratives

AT ABOUT 1:34PM, ON FRIDAY, 10/7/05, OFFICERS RESIL AND LAHAM, IN THE CKO1D UNIT, ALONG WITH DYS OFFICER
SHIELDS DID ARREST ABOVE SUSPECT ON 2 STRAIGHT WARRANTS OUT OF DORCHESTER JUVENILE COURT. WARRANT #1
(DOCKET #DLO5D1232) WAS ISSUED ON 10/7/05 BY JUDGE ROPER FOR CARRYING A FIREARM WITHOUT A LICENSE
(269/10). WARRANT #2 (DOCKET #DLO05D 1233) WAS ISSUED ON 10/7/05 BY JUDGE ROPER FOR LARCENY OF A FIREARM
(266/30). SUSPECT WAS HANDCUFFED WITHOUT INCIDENT AND TRANSPORTED TO B-3 FOR BOOKING. WARRANT UNIT
NOTIFIED VIA FAX.

EY SITUATIONS: 8-Others

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
_p7 6/12/2006 12:00:00 _ 00 BLUE HILL AV & 00
1060310804-01 AM Incident Report wasyiINGTON ST B2
Subjects
Name DOB Involvement Current Home Address Employer Occupation
DET MANNY BARROS Witness 1 SCHROEDER PLZ,BSTN
SGT DET KENNETH LAMB Reporter 1 SCHROEDER PLZ,BSTN
TPR. DAN WELLS Witness 520 FELLSWAY,MEDFORD
TPR. KEVIN YOUNG Witness 520 FELLSWAY,MEDFORD

ANTHONY POOLE nc TT

 

 

 

 

DIOVANNI CARTER | S°— Suspect Eas] SERV PRO

DIOVANNI CARTER 89 Suspect STRIVE STUDENT
Vehicles

Plate State Make Model Color
2640PR MA DODGE DAKOTA BLUE
Narratives

ON MONDAY JUNE 12, 2006 AT APPROX 1510 HOURS, MEMBERS OF THE G.A.T.S.F. WERE IN THE AREA OF BLUE HILL
AVENUE IN DORCHESTER TRACKING A LOJACK EQUIPPED STOLEN MOTOR VEHICLE, A 2004 DODGE DAKOTA PICK-UP
TRUCK, (MA) 2640-PR. THIS VEHICLE HAD BEEN REPORTED STOLEN TO BOSTON P.D. EARLIER THIS DATE. TRP. DANIEL
WELLS (VS-80) OBSERVED THIS VEHICLE, AS IT WAS OPERATING IN TRAFFIC AT THE INTERSECTION OF BLUE HILL
AVENUE AND WASHINGTON STREET. THE VEHICLE WAS OBSERVED TO BE OCCUPIED AT LEAST 2 TIMES. TPR. WELLS

 

 

 

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BROCK-TMO-000263
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 26 of 52

Page 10 of 36

ADVISED BOSTON AND G.A.T.5.F. OPERATIONS OF HIS LOCATION AND STATUS. AS HE FOLLOWED THE VEHICLE ONTO
WASHINGTON STREET. IN THE AREA OF THE J. BURKE HIGH SCHOOL, THE STOLEN VEHICLE PULLED TO THE SIDE OF THE
ROAD, AND THE OPERATOR EXITED ON FOOT, THIS SUBJECT WAS DESCRIBED AS A LIGHT SKINNED BLACK MALE,
WEARING A BROWN T-SHIRT AND SHORTS. AS THIS INDIVIDUAL WALKED TO THE SIDEWALK ADJACENT TO THE VEHICLE,
THE PASSENGER IN THE STOLEN MOTOR MOVED INTO THE DRIVER'S SEAT, AND THEN PULLED FROM THE CURB INTO
TRAFFIC. TPR. WELLS CONTINUED TO FOLLOW THE VEHICLE IN TRAFFIC AS HE UPDATED OPERATIONS ON THE
LOCATIONS. THE VEHICLE CONTINUED ON WASHINGTON STREET, AND TURNED ONTO ELDER STREET AND THEN ONTO
ROSSETTER STREET. THE VEHICLE CONTINUED IN TRAFFIC TO THE AREA OF BOWDOIN STREET, AND THE TURNED ONTO
GREENBRIER. AT THIS TIME, SEVERAL MARKED UNITS REACHED THE AREA, AND AS THE STOLEN VEHICLE TURNED ONTO
DAKOTA STREET, AN ATTEMPT WAS MADE TO STOP THE VEHICLE IN TRAFFIC. AT THIS TIME, THE STOLEN VEHICLE
MANUEVERED AROUND THE MARKED CRUISERS AND FLED ONTO WASHINGTON STREET, WHERE TT MADE AN IMMEDIATE
SEVERAL ABRUPT TURNS, EVENTUALLY TURNING ONTO ALGONQUIN STREET. AS IT FLED DOWN ALGONQUIN STREET, THE
OPERATOR CAUSED SEVERAL CONSTRUCTION WORKERS WHO WERE WORKING IN THE STREET TO JUMP OUT OF THE
VEHICLE'S PATH. AS THE VEHICLE REACHED THE INTERSECTION OF ALGONQUIN AND HARVARD STREET, THE VEHICLE'S
PATH WAS BLOCKED BY HEAVY TRAFFIC, AND THE OPERATOR FLED THE VEHICLE ON FOOT. TROOPER WELLS PURSUED
THE SUSPECT ON FOOT FROM HARVARD STREET ONTO SCHOOL STREET AND FROM SCHOOL STREET ONTO MERLIN
STREET. THE SUSPECT RAN BEHIND OF #12 MERLIN STREET AND MADE HIS WAY OVER A FENCE ONTO CHAMPLAIN
CIRCLE. DURING THIS TIME THERE WERE NUMEROUS OFFICERS ON SCENE WHO WERE ABLE TO MAINTAIN & CONSTANT
VISUAL ON THE SUSPECT. THE SUSPECT WAS EVENTUALLY APPREHENDED IN THE AREA OF 31 KENBERMA STREET. HE
WAS IDENTIFIED AS: CARTER, DIOVANNI, DOB: 89. HE WAS TRANSPORTED TO AREA B-2 FOR PROCESSING. THE
VEHICLE WAS TOWED AT THE REQUEST OF G.A.1T.S.F. AUTO SERVICE AND TIRE. SUBSEQUENT REGISTRY CHECK
REVEALED CARTER TO BE UNLICENSED. HE WAS ISSUED CITATION #:3343917/3349918 FOR THE MOTOR VEHICLE
OFFENSES. ALSO NOTED, AT THE TIME OF THE ARREST, CARTER WAS OBSERVED TO BE WEARING AN ELECTRONIC
MONITORING BRACELET, WHICH WAS LATER DETERMINED TQ BE FOR PROBATION TERMS.

KEY SITUATIONS: 8-Others

 

 

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
7 _pp 9/28/2007 12:00:00 " 00 DARLINGTON ST & 00
1070541605-00 AM WARRANT ARREST Incident Report SOUTHERN AV B3

Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim '
DIOVANNE CARTER operator
DIOVANNI CARTER owner
DIOVANNI CARTER  [S9 «= Suspect SS SERV PRO
DIOVANNI CARTER [MESS Suspect —§_ «si STRIVE STUDENT
Vehicles
Plate State Make Model Color

MA SUNL SL QSOL GREY
Narratives

On 28 September 2007 at approximately 0152 hours, Officers Aziz and Rooney (C101a) were on general patrol in the
Southern Ave Darlington St area in a marked cruiser while in department uniform. Officer Aziz observed a black male
operating a motorized scooter down the middle of Darlington Ave without a helmet. This male looked at the officer and then
changed directions quickly, now riding on the sidewalk, The black male crashed into the front bushes of 22 Darlington St.
The black male hopped off the scooter and began to walk up the stairs of 22 Darlington St. The black male then walked baci
down the stairs and walked his scooter to the next address of 20 Darlington St. Here he walked up the stairs and then got on
his cellphone after looking around, mainly at the officers. The hispanic male did not enter the residence. Officer Aziz exited
his marked cruiser and approached the male operator asking him for his ID, The subject stated he did not have an ID as he
had just come out of his house. Aziz asked where his helmet was to which he stated he must have left it at home, Aziz asked
for his information verbally to which the black male identified himself as Darius Cartar DOB 90. When asked how old
he was he replied, "16." The manner in which the subject was answering questions was evasive and untruthful as the
subject tripped over his words and repeat, "ummm", after each question was asked. In running the provided information
through the cruiser C]IS computer, no information came back identifying and confirming Darius's information. Aziz asked
Darius for more infarmation to which Darius was hesitant and tripped over his words. At this time Ci02a (Marando and
Cullen) as well as C202a (Coleman and ODonnell) arrived on scene to assist. Officer Aziz then asked Darius what his
brother's name was to which Darius stated, Diovanni Carter. Officer Aziz asked what his birthday was to which he replied he
wasn't sure. Officer Aziz then contacted B-3 booking officer Sam Berte and asked him to run a name search for a DOS on
Diovanni Carter. Officer Berte stated the date of birth was IS? In running this information for a warrant check, it was
discovered there was an outstanding DYS/Parole arrest warrant for Diovanni. Extradition across the country was stipulated
on the warrant, Officer Aziz confronted the hispanic subject with this information, At this point, the subject admitted that he
had lied and that he was in fact Diovanni Carter pos a> He was subsequently arrested for the warrant (DYS/Parale
violation warrant #W7188801 NIC#: W573023844 which was entered into NCIC on 09/11/2007). C202a (Coleman and
ODennell) transported Diovanni Carter back to B-3 for booking. C101a (Aziz and Rooney) stayed on scene to await for the
tow of the scooter. The scooter was towed by Road Runner claim check number 5847. Diovanni Carter was issued a verbal
warning for not wearing a helmet while operating a motorized scooter as well as operating an unregistered scooter, Boston
Tow line, Hussian, was advised of the tow. Booking officer Berte contacted DYS/CIC 2 ae 2" advised them of
the arrest, DYS requested we transport Mr. Carter to their facility located at Harvard street Dorchester. C101la performed

 

 

 

 

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BROCK-TMO-000264
 

 

 

 

Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 27 of 52

Page 11 of 36

this transport after Mr. Carter was booked and afforded his phone call. FIO report completed.
KEY SITUATIONS: 22-Warrant Arrest

 

 

 

Incident # Occurred On Offense Reports Address District
4/18/2008 12:00:00 REPORT AFFECTING 4
1080218036-00 1, OTHER DEPTS. Incident Repo, (i cll
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim 7

P,O.S MCCARTHY & BORDLEY Reporter ES S=—
DIOVANNE CARTER BS Suspect
LATIEK KINDLE me Suspect Sa ae

 

Narratives

ABOUT 21:30 P.M. OFFICERS SEAN MCCARTHY AND MARK BORDLEY ASSIGNED TO THE YOUTH VIOLENCE STRIKE FORCE
AND CONDUCTING OPERATION NIGHT LIGHT WITH PROBATION OFFICER (D.¥-S.) IMANI SMITH DID A CURFEW CHECK ON
SUSPECT #1 (DIOVANNI CARTER). OFFICERS SPOKE TO HIS MOTHER WHO STATED THAT HE WAS NOT HOME AT THE
TIME. THE SUSPECT IS IN VIOLATION OF HIS 8:00 P.M. CURFEW. MOTHER WAS ADVISED TO HAVE HIM CONTACT P.O.
SMITH BY THE HOME PHONE NUMBER UPON HIS RETURN. P.O; SMITH HAD NOT RECEIVED THAT CALL BY 22:10 P.M.
ABOUT 22:00 P.M, OFFICERS ONCE AGAIN CONDUCTED A CURFEW CHECK , THIS TIME ON SUSPECT #2 (LATIEK KINDLE)
AND FOUND HE WAS NOT AT HOME AND IN VIOLATION OF HIS 21:30 P.M. CURFEW. HIS PROBATION OFFICER JEN DEVLIN
WILL BE NOTIFIED VIA FAX.

KEY SITUATIONS: 3-luvenile

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1080219492-00 4/19/2008 12:00:00 DRUGS ~ POSS CLASS Incident Report, 1350 TREMONT ST B2
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim ?

DIOVANNI CARTER EES Suspect [x SERV PRO
DIOVANNI CARTER JESS Suspect [x STRIVE STUDENT
PATRICK CURRAN Witness EEE — | DYS WARRANT APPREHEN

Narratives

On 19 April 2004 at 16:33 Officer Murphy in the 8432F responded to 1350 Tremont St to assist with an arrest, Upon arrival
spoke with the VK905 Sgt Teahan and Patrick Curran of DYS who had arrested the suspect Dievanni Carter for an
outstanding DYS warrant. During a search subsequent to a lawful arrest Patrick Curran found a medium sized plastic bag
containing Marijuana inside a pocket of the suspect's jeans. Officer Murphy took possession of the drugs and transported the
suspect to B2 for booking. Drugs logged into the Drug Control Log Book #133 Page 93 and secured by the Duty Supervisor
SGT Flaherty.

KEY SITUATIONS: 1-Drugs

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1080250917-04 5/4/2008 12:00:00 AM Incident Report 76 ESMOND ST BSMNT B3
Subjects
Name DOB Involvement Currant Home Address Employer Occupation

DIOVANNI CARTER G82 Suspect ——— | UNEMPLOYED
GUS IRBY Witness ——————— =| DETECTIVE
[Fewer rose Reporter

 

 

Narratives
On 05/06/2008, Detectives Irby (C812) and O'Brien (C818) responded to Area C - 11 at 40 Gibson Street to interview one
Diovanni Carter . Diovanni Carter is a suspect in the armed robbery of Maurice

Williams at 76 Esmond Street on 4/2008. Mr. Carter Was arrested on an unrelated matter (Parole violation, DYS, docket
# 010804063). Diovanni Carter signed the Boston Police Miranda Form and Electronic Recording of Interview Form. During
the taped interview, Diovanni Carter stated that he(Carter) and Isaiah (Hawkins) went to 76 Esmond Street basement
apartment to purchase marijuana from an individual named “Maurice”. Carter states that ,once they went into the basement
apartment, they stole two (2) ounces of marijuana. Mr. Carter further states that at no time did “Isaiah” or he (Carter) use a

 

 

 

about:blank 2/1/2019

BROCK-TMO-000265
 

 

Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 28 of 52

Page 12 of 36

firearm to steal the marijuana. As a result, A Warrant will be sought at Dorchester District Court against Diovanni Carter for
the armed robbery of Maurice Williams.
KEY SITUATIONS: 1-Drugs 15-Gun

 

 

 

 

Incident # Occurred On Offense Reports Address District
1080255564-00 5/6/2008 12:00:00 AM WARRANT ARREST Incident Report 740 WASHINGTON ST 01 cll
Subjects
Name DOB Involvement Current Home Address Employer Occupation

COMM OF MASS victim S74!
DIOVANNI CARTER G82 Suspect —— SS) SERV PRO

DIOVANNI CARTER GE s9 Suspect —aa | STRIVE STUDENT

Narratives

About 19:29pm Tuesday, 05/06/2008 Officers Medina, and Doran in the HKOLF unit under the direct supervision of the H911
Sgt. Dalrymple responded to 740 Washington St., apt#01 after receiving information from Officer Robert Shields of the
Department of Youth Services of the where about's of the above suspect Mr. Diovanni Carter, who was wanted for violating
the conditions of his parole. Once on-scene, Officers located the above suspect Mr. Diovanni Carter hiding inside of a
bedroom closet. Suspect placed under arrest and transported back to area C-11 for booking. Copy of 1,1 and booking sheet
faxed to Warrant Unit.

KEY SITUATIONS: 21-Other BPD/Agency Notified 22-Warrant Arrest

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1080250917-05 5/8/2008 12:00:00 AM Incident Report B3
Subjects
Name DOB Involvernent Current Home Address Employer Occupation
COMM OF MASS Victim i;

DIOVANNI CARTER 5 Suspect aT | SERV PRO
DIOVANNI CARTER =i: Suspect SSS s! STRIVE STUDENT

 

 

Narratives

About 10:45 hrs on Thursday 05/08/08, Officers Hasan and Aziz under the direction supervision of SGT Ford did make an
on-site arrest of Diovanni Carter. Suspect was arrested by virtue of a straight warrant #7350460 docket 0807CROO3007
issued out of Dorchester District Court by Judge Hudson. Offenses are 265/17A armed robbery. Warrant unit notified via fax.

KEY SITUATIONS: 22-Warrant Arrest

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
9/19/2008 12:00:00 SERVICE TO OTHER PD .
1080547312-00 4), INSIDE.OF MA; Incident Report B2
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim 170 HANCOCK ST,BSTN
P.O, ROBERT A. GRIFFIN Reporter YVSF,BOSTON

DIOVANNI CARTER Hs) Suspect | SERV PRO
DIOVANNI CARTER hm Suspect SS STRIVE STUDENT

Narratives

About 12:36pm Officers R. Griffin, Fabiano, Dankers, Bowden and DYS Officer Shields in the VK15 unit under the direction of
Sgt Teahan (VK905) arrested the defendant, Diovanni Carter, on a DYS Warrant issued 9/11/2008 for Violating a condition
(s) of his conditional liberty...Warrant #0108-08068, CJIS Ref # W7435694. This arrest took place in front of Roxbury
District Court (85 Warren St). Warrant Unit notified via fax.

KEY SITUATIONS: 22-Warrant Arrest

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1090023639-00 yaa aee 12:00:00 WARRANT ARREST Incident Report Ba
Subjects
Name DOB Involvement Current Home Address Employer Occupation
about:blank 2/1/2019

BROCK-TMO-000266
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 29 of 52

Page 13 of 36

 

 

COMM OF MASS/DEPT. OF YOUTH SERVICES Victim :

DET. DONGA/BROOKS Witness Sa]

P.O. FABIANO/DYS OFFICER SHIELDS Witness as SSS]

P.O. HASAN/O'HARA Witness |x

P.O, ROSS/SERRA/MSP FOLEY witness

DIOVANNI CARTER HEE s: suspect NS SERV PRO
DIOVANNI CARTER HEN 29 Suspect SSS STRIVE STUDENT
J. SGT. DET. FITZGERALD Witness OS

J. SGT, DET. MACDONALD Witness ————————

JOEL P.O, RESIL Reporter |

S. SGT, DOHERTY Witness [x

T. SGT. FOLEY Witness SSS

Narratives

At about 10:57pm, on Tuesday, 1/13/08, members of the Youth Violence Strike Force (VKO6: P.O.'s Resil, Fabiano and DYS
Officer Shields) did arrest the above suspect on an outstanding warrant issued by Department of Youth Services (REF
#W7486499-Escape from Custady) and for unlawful possession of ammunition (269-10H) and possession of a Class D
substance at Officers, while in the area of Codman Square, developed information
regarding the whereabouts of a wanted individual known to the officers as Diovanni Corte Officers were aware
that this suspect was wanted for escape from a Department of Youth Services Facility while using force. Officers, relying on
this information, believed that the suspect was inside his grandmother's home at . Upon Jeaming
of this information, officers called for their immediate supervisors and notified them of this information. 1) VK902 (Sqt.
Foley) and the VD985 (Sgt. Det. Fitzgerald) responded to the scene. Also responding at this time were the VKO7 (P.O. Ross,
Serra, Tpr. Foley), VK80S (Det. Donga), and VK808 (Det. Brooks). Sgt. Det. Fitzgerald and Sgt. Foley then went to the front
door of and rang both the first and second floor doorbells, A short time later a female later identified as
Carol Majors descended down the stairs from the second floor apartment. During a discussion with Carol Majors, officers
were able ta confirm that Carol Majors knew her grandson was wanted and she further knew that he (Diovanni Carter) was
in apartment #1 a Sgt. Foley then requested a District 3 patrol supervisor to respond. Sgt. Det. MacDonald
(C983) and and Sgt. Doherty (C909) responded, With the assistance of Sgt. Det. MacDonald (C983) officers were then
granted entry into apartment J by Diovanni Carter's mother, Lorie Majors. Lorie Majors directed Sgt. Det.'s MacDonald and
Fitzgerald to a stairway located in the rear of the dwelling that led to a second floor bedroom. As Sgt. Det. Fitzgerald
ascended the stairway he announced his office as "Boston Police" and announced that if persons upstairs did not show
themselves a Police Dog would be released upstairs. in response to this several voices shouted 'He's right here." At this time
officers entered the second floor bedroom and located Diovanni Carter sitting on the bed. Officers also located three
additional males and five females. Diovanni Carter at this time was shoeless. As officers waited for Mr. Carter to put on his
shoes Sgt. Det. Fitzgerald observed on the floor of the bedroom in plain view two open plastic bags of a green herb-like
substance believed to be marijuana spilled onto the carpet. Sgt. Det. MacDonald observed in plain view a plastic bag on an
entertainment center containing in excess of fifty smaller plastic bags embossed with an apple logo. Det. Donga observed in
plain view a "Speer" .40 caliber ammunition box inside a broken stereo speaker. Diovanni Carter was then escorted out of
the room and outside of the house to be transported to District B-3 for booking. At this time the transporting officers
(Hassan & O'Hara) did locate in Mr. Carter’s front left inside jacket pocket four .38 caliber rounds. Sgt-'s Fitzgerald,
MacDonald, Foley, and Doherty were immediately advised of this evidence. Officers then had all persons present within the
second floor pat-frisked and checked for warrants. All parties then left the apartment. Officers then notified Carol Majors that
they would be posting an officer outside the bedroom and were "Freezing" the second floor bedroom while officers saught a
search warrant. Carol Majors then asked Sgt. Det, Fitzgerald if she spoke to her daughter and was granted consent by her
daughter (Lorie) would the officers consider searching the roam immediately. Sgt. Det. Fitzgerald then read Lorie Majors her
Miranda warnings in the presence of Sgt. Det. MacDonald and Carol Majors. Lone Majors acknowledged her Miranda
Warnings both verbally and in writing. Sgt. Det. Fitzgerald then gave Lorie Majors a preprinted consent to search form that
she read and signed. In the presence of Sgt. Det.'s Fitzgerald and MacDonald Lorie Majors consented to a search of
(Diovanni Carter's bedroom on the second floor of apartment . ), Officers then proceeded to the second
floor bedroom where Det. Donga seized the loose marijuana and two plastic bags from the floor. Det. Donga seized the
5 package of "apple" ziplock baggies from the entertainment center. Det. Donga seized the box of "Speer" ammunition from
within the stereo speaker. The box of ammunition was labeled "SPEER Gold Dot high performance ammunition." The box had
a label designating the ammunition as 40 S&W, 180 GR. GDHP with the numbers 53962 and 32021. The box contained two
hollow point .40 caliber rounds. Det. Brooks photographed the evidence. Officers secured the scene at 00:09. The drug
evidence was logged into drug control log book # 6S page # 6. The ballistic evidence and ammunition box were printed by
Det, Donga. The ballistic evidence was placed in the District 3 gun locker. The other evidence was logged in the District 3
evidence locker by P.O. Resil.

KEY SITUATIONS: 22-Warrant Arrest

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
7 12/8/2009 12:00:00 DRUGS - POSS CLASS .
1090703900-00 AM B - COCAINE, ETC. Incident Report 0 DEWEY ST & 0 BLUE HILL AV B2
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMMONWEALTH OF MASS Victim

DIOVANNT CARTER operator
DIOVANNI CARTER [ &° Suspect SERV PRO

 

 

 

about:blank 2/1/2019
BROCK-TMO-000267
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 30 of 52

Page 14 of 36

 

 

 

 

DIOVANNI CARTER 10/25/1989 Suspect _—— a STRIVE STUDENT
JAVIER PO VELASQUEZ Reporter == ss)

KENIESHA MENDES owner

PERRY DODD, HANCOCK PO'S DERVAN Witness aa

Vehicles

Plate State Make Model Color

S3RRE1 MA MITSUB DIAMANTE GREY
Narratives

About 12:42 AM on Tuesday, December 8, 2009, Officers Velasquez, Quinn, and Cole in the B623A, B622A, and the B6244
units observed a MV at the intersection of Dewey St and Blue Hill Ave, Roxbury, interacting with known prostitutes in the
area, which resulted in a drug arrest with the intent to Distribute Class B and D. Officers first observed a grey MV sedan type
parked on Dewey St at Blue Hill Ave with the brake lights on with a couple of known prostitutes in the area. Officers
Velasquez, Quinn and Cole are all on the Blue Hill Ave impact team which focuses on criminal activity in the area of BHA
between Dudley St and Grove Hall, Officers are very familiar with all working girls in the area. Officers then parked at the
intersection of Dacia and Dewey when the MV came down Dewey and tumed left onto Dacia St. When the MV passed the
officers, officers observed the MV to have a cracked windshield. Officers initiated a 3 point turn as the MV quickly began to
pick up speed and tured left onto Ingleside St without using a turn signal. Officers then observed the MV on BHA towards
Clifford St at a high rate of speed. Officers activated lights sirens well before the intersection of BHA and Clifford as the MV
continued to speed, the MV turned onto Clifford St at a high rate of speed and continued to speed on Clifford St. The MV
finally came to stop at the intersection of Warren St and Clifford. The operator, later identified as Diovanni Carter, was order
out of the vehicle for various violations of the auto laws including failure to stop for police. Officer Velasquez observed Mr
carter to have his hand in his left pant pocket where there was a large bulge in his pants. Mr Carter was pat- frisked for
officer safaty, in Mr Carters left hand pant pocket Officer Velasquez found two plastic sandwich bags. One plastic bag
contained five smaller individually wrapped white rock objects believed and consistent to be crack cocaine, The other plastic
bag contained five smaller bags with green leafy vegetable matter believed and consistent with Marjuana. Mr carter was
alsa in possession of $200.00 of USC which was located in his rear pant pocket. Mr Carter was immediately placed in
restraints as the passenger identified as Shalik Jordan was pat frisked queried, and later released from the scene. Mr Carter
was secured in the 8201A unit (Dervan and Perry), K-9 Officer Fisher responded to the scene for and assisted with the drug
investigation. No additional narcotics were found. The BKOIA unit Officers Dodd and Hancock also responded to assist.
Officer Cole observed Mr Carter bending forward and then arching and twisting his back on the surveillance camera in the
B201A unit, consistent with a person having additional narcotics concealed on him. Officer Velasquez advised Mr Carter of
his rights while he was secured in the rear of the B201A. Officer Velasquez searched Mr Carter again as he made a
spontaneous utterance "that's all I had on me... I don’t have anything else... there is nothing else on me," The utterance
was directed towards Officer Velasquez and witnessed by Officer Dodd. The B201A unit transported Mr Carter back to District
82 for booking. During the booking process Mr Carter was in possession of $200.00 in USC, located by Officer Velasquez
witnessed by Officer Cole in his right rear pocket. The USC was seized and logged into the central cashier's office. The MV
MA reg 33RR81 was towed by Jan’s Towing Claim Check #5440. The tow line was notified and verified by Deltufo, MV
inventory form completed, tow tog also completed and filed. Officer Quinn issued Mr Carter MV citation #M-8809143 for
various moving violations which was placed in his property. Narcotics evidence was logged into the District B2 Drug Control
Log #145 page 5 and secured in the B2 drug depository. Mr Carter’s cell phone was seized. Criminal complaint forms were
completed and filed with Roxbury District Court,

KEY SITUATIONS: 1-Drugs

 

 

 

Incident # Occurred On Offense Reports Address District

 

 

 

 

 

1090703900-01 17/8/2008 22:00:00 Incident Report 0 DEWEY ST & 0 BLUE HILL AV B2
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMMONWEALTH OF MASS Victim ———— |
DIOVANNI CARTER 82 Suspect ——— || SERV PRO
DIOVANNI CARTER 22 Suspect —_———___ | STRIVE STUDENT
JAVIER PO VELASQUEZ Reporter SSS
Narratives
The Mr Carter's MV was first observed at the intersection of Blue Hill Ave at Dewey St. There is a school located at the
intersection of BHA and Quincy St. Mr Carter finally stopped his MV at Clifford at Warren St, there is another school Boston
Latin Academy at the intersection Quincy and Warren St. Goth locations are believed to be within 1000' of a school and a
measurement will be taken at a later time.
KEY SITUATIONS: 1-Drugs

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1090703900-03 12/8/2009 12:00:00 Incident Report 00 DEWEY ST& 00 BLUE HILLAV = B2
about:blank 2/1/2019

BROCK-TMO-000268
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19

 

Page 31 of 52

Page 15 of 36

 

 

 

 

 

 

Subjects

Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim 4

DETECTIVE PAUL PAINTEN Reporter

DIOVANNI CARTER 22 Suspect SERV PRO

DIOVANNI CARTER G22 Suspect STRIVE STUDENT
KENIESH MENDES Owner

Vehicles

Plate State Make Model Color

33RRE81 MA MITSUB DIAMANTE GREY
Narratives

This Detective about 1300 hours responded to 150 Freeport Street to Jan's Towing and took digital photos of above
described motor vehicle. One CD of Photographs logged into evidence by this Detective

KEY SITUATIONS: 1-Drugs

 

 

 

 

 

Incident # Occurred On Offense Reports Address District

1090023639-01 e PSOE PESO Incident Report 1165 BLUE HILL AVE Ba
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MA Victim :
DIOVANNI CARTER E22) Suspect SERV PRO
DIOVANNI CARTER G82 Suspect STRIVE STUDENT
P.O./MCNEIL P.O, CONLEY Reporter

 

 

 

Narratives
About 11:33 am on Monday, 12/28/09, Officers Conley and

 

(Diovanni Carter) by virtue of an outstanding straight warrant (W7713627, Docket #0907CR000271), issued on 12/08/09,
out of Dorchester District Court, Possession of a Firearm without an FID Card, Ch. 269, Sec. 10 and Possession with Intent
to Distribute, Class D, Ch. 94c, Sec. 32c. Mr. Carter was transported to B-3 for booking procedures. Warrant unit notified via

McNeil in the CKO1D unit did arrest the above named suspect

 

 

 

 

 

fax.
KEY SITUATIONS: 22-Warrant Arrest
Incident # Occurred On Offense Reports Address District
9, . .
1090703900-06 7/10/2010 12:00:00 Incident Report. 00 MILLET ST & 00 TALBOT AV B3
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim 1
Po P. COLEMAN Reporter
DIOVANNI CARTER S20 Suspect SERV PRO
DIOVANNI CARTER =: Suspect STRIVE

 
  
   

 

 

Narratives

About 1304 hrs on Sat. 07/10/2010 Officers P. Coleman and Green while assigned to the CKO2D unit made an on site arrest
at the intersection of Millet St. and Talbot Av. Officers received information from the Department of Youth Services Officer
Shields that a Mr. Carter,Diovanni ) had an active DYS warrant. Officers made contact with Mr.Carter at the
intersection of Millet St. and Talbot Av. cers confirmed the warrants through our MDT,at this time Mr. Carter was placed
into custedy for the following warrants,Dkt #0902CR005690 for Possession with Intent to Distribute class B and Possession

Equipment Violation and Speeding issued by Judge Dashiell

 

KEY SITUATIONS: 22-Warrant Arrest

with Intent to Distribute class D, two counts of Drug Violation near School Zone, Fail to Signal, Fail to Stop for Police,

Parole Violation issued by DVS ( Supervising Case Manager Delbert Woodham). Mr. Carter was transported by the C2020
(PO Bridges/ PO Ranera) to B-3 where he was booked in the usual manner. Warrant Unit notified.

out of Roxbury District Court..Mr. Carter also has a warrant for

 

 

Incident # Occurred On Offense

WEAPON ~ FIREARM -

 

about:blank

Reports Address District

 

 

2/1/2019
BROCK-TMO-000269
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 32 of 52

Page 16 of 36

 

 

 

 

 

_on 7/30/2010 12:00:00 CARRYING / . 00 SPENCER ST & 00 WHEATLAND
TIODF11838-00 Ay POSSESSING, ETC Incident Report ay BS
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMMONWEALTH OF MASS Victim
DARREN S JOHNSON Gs) suspect NONE
DET. K.MAGOON DET, JOSEY witness POLICE
SGT.DET.FITZGERALD OFFICERS
DIOVANNI CARTER as Suspect
DIOVANNI CARTER (£9 Suspect STUDENT
. POLICE
PO DOHERTY PO MCLEAN PO BISSONNETTE Witness Beceas
PO MELENDEZ PO PALOMARES SGT.DENNIS witness POLICE
COGAVIN ' OFFICERS
PO PAUL SULLIVAN PO MYLETT PO GREG Minbae POLICE
BOWEN OFFICERS
POLICE
PO.COTTON PO EDWARDS SGT.DET.BARKER Witness OFFICERS
Narratives

UNDER THE DIRECTION OF SGT.DET.BARKER MEMBERS OF THE B-3 DRUG CONTROL UNIT ON SITED AN ARGUMENT WITH
A. GROUP OF MALES AND ONE FEMALE AT THE INTERSECTION OF WHEATLAND AVE AND SPENCER STREET. OFFICER
COTTON OBSERVED AS HE DROVE BY SUSPECT CARTER WHAT HE BELIEVED TO BE THE HANDLE OF A FIREARM
PETRUDING FROM SUSPECT CARTER'S RIGHT PANTS POCKET. OFFICERS COTTON AND JEAN THEN SET UP SURVEILLANCE
AND WERE ABLE TO CONFIRM WHAT THEY WERE LOOKING AT WAS THE BUTT OF A REVOLVER IN THE SUSPECTS RIGHT
POCKET. OFFICERS JEAN AND COTTON THEN RADIO'D FOR ASSISTANCE FOR MARKED AND UNMARKED UNITS TO COME
INTO THE AREA TO ASSIST IN THE APPREHENSION OF THIS SUSPECT. DURING THE CONTINUED SURVEILLANCE OFFICER
JEAN OBSERVED A MINIMUM AMOUNT OF MOVEMENT FROM SUSPECT CARTER'S RIGHT ARM. SUSPECT CARTER'S RIGHT
ARM APPEARED TO BE STIFF AND HE APPEARED TO BE ANGRY AND CONSCIOUS AS VEHICLES DROVE INTO THE AREA. AT
THIS TIME SUSPECT CARTER WOULD LOOK AT THESE VEHICLES AND MAKE SURE THAT HIS HAND WOULD COVER THE
BUTT OF THE GUN THAT WAS PARTIALLY STICKING OUT OF HIS RIGHT POCKET. DURING THIS SURVEILLANCE SUSPECT
CARTER WAS JOINED BY SUSPECT JOHNSON. BOTH PARTLES WERE ENGAGED IN A CONVERSATION. AS OFFICERS MCLEAN
AND DOHERTY IN A MARKED UNIT AND COTTON APPROACHED, SUSPECT JOHNSON AND CARTER SIGHTED THE CRUISER
AND IMMEDIATELY STARTED WALKING AWAY FROM THE CORNER FROM WHICH THEY WERE STANDING AT A FAST PACE.
AS THE CRUISER PULLED UP, BOTH SUSPECTS JOGGED BEHIND A 6 FOOT CHAIN LINK FENCE AT WHICH TIME SUSPECT
JOHNSON FLED INTO THE BACK YARDS, WHILE SUSPECT CARTER ATTEMPTED TO HOLD THE FENCE CLOSED SO THAT THE
OFFICER COULD NOT APPROACH HIM OR SUSPECT JOHNSON WHOM WAS FLEEING THE AREA. OFFICERS WERE ABLE TO
PUSH THEMSELVES THRQUGH THE FENCE AT WHICH TIME SUSPECT CARTER RAN FLEEING OVER SEVERAL FENCES AND
BACK YARDS. DURING THIS PURSUIT SUSPECT JOHNSON ALSO LED OFFICERS ON A FOOT PURSUIT OVER SEVERAL
FENCES AND BACK YARDS CAUSING PEOPLE TO GATHER OUTSIDE AN LOOK AND ASK QUESTIONS AND VEHICLES TQ
SLOW DOWN AND TWO MARKED UNIT TO GET INTO A MOTOR VEHICLE ACCIDENT AS HE WAS OBSERVED JUMPING A 6
FOOT CHAIN LINK FENCE. SUSPECT JOHNSON WAS APPREHENDED BY OFFICER BISSONNETTE AND RECOVERED FROM HIS
PERSON WAS (1) KNIFE BY PO GREG BOWDEN WHO ISSUED A KNIFE CITATION # 118676, SUSPECT JOHNSON WAS
PLACED UNDER ARREST FOR A DISORDERLY AND TRESPASSING AND TRANSPORTED TO DISTRICT B-3 AND BOOKED IN
THE USUAL MANNER BY OFFICERS KAPLAND AND PO EDWARDS. ALSO DURING THIS PURSUIT SUSPECT CARTER WAS
APPREHENDED UNDER THE FRONT PORCH OF 130 SPENCER ST BY OFFICERS COTTON AND MCLEAN, WHERE HIS BLOOD
WAS ALSO OBSERVED BY OFFICERS. SUSPECT CARTER WAS FOUND COVERED UNDER PANELING BOARD. ALSO OBSERVED
UNDER THE REAR PORCH OF 132 SPENCER ST WAS (1) REVOLVER BY OFFICER JEFFREY MCLEAN AND ALSO OBSERVED BY
SGT.DET.BARKER. THIS FIREARM WAS ID BY OFFICERS JEAN AND COTTON AS BEING THE SAME KIND OF HANDLE THAT
WAS PROTRUDING FROM SUSPECT CARTER'S POCKET. ADDITIONAL UNITS RESPONDED TO THE SCENE THE TGO2 OFFICER
PAUL SULLTVAN WHOM TOOK A THERMO IMAGE OF THE FIREARM. THE FIREARM RECOVERY AND PHOTO'S WERE TAKEN BY
THE FOLLOWING OFFICERS THAT ARRIVED ON SCENE. SGT.DET .FITZGERALD, DET. WENDEL JOSEY AND DET. MAGOON.
SUSPECT CARTER WAS TRANSPORTED TO DISTRICT 8-3 AND BOOKED IN THE USUAL MANNER BY PO EDWARDS AND PO
KAPLAN. WHOM ADMINISTERED FIRST AID TO CLEAN SUSPECT CARTER'S WOUNDS. THE FIREARM RECOVERED WAS
FUMED BY DETECTIVES TO BE FORWARDED TO BALLISTICS. THE FIREARM CONTAIN 9 LIVE 22 CAL ROUNDS ALSO
FORWARDED TO BALLISTICS,

KEY SITUATIONS: 15-Gun

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
| 5/18/2013 12:00:00 ASSAULT SIMPLE - -
1130296185-00 AM BATTERY Incident Report nn B2
Subjects
Name DOB Involvement Current Home Address Employer Occupation
UNITED CAR RENTAL owner

DIOVANNE CARTER ——

 

 

 

about:blank 2/1/2019
BROCK-TMO-000270
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 33 of 52

Page 17 of 36

DIOVANNI CARTER Reporter
SHAKEEMA MENDES —— |
VERONICA LISENBY ——

 

 

 

 

Vehicles

Plate State Make Model Color
1RKL50 MA MITSUB GALANT BLACK
646189 MA PONTIA RED
Narratives

About 0156 hours on Saturday, 05/18/2013, the CKO1A unit responded to a radio call for a radio call =
Upon arrival, Officers spoke with Diovanni Carter who stated that he left a friends house in the area ol

omestead street when his girlfriend (Veronica Lisenby) began following him in her car (RI Reg# 646189). Mr. Carter stated
that Ms, Lisenby was upset because she wanted him to pick up his belongings. Mr. Carter stated that while he was stopped
at a red light she got out of her car and started hitting the window of the vehicle (Ma Reg# 1RKLSO) he was driving. Mr.
Carter stated that he called 911 and asked the dispatched to have Officers meet him at his house HR ) because she
was still following him. Officers spoke with Veronica Lisenby who stated that she and Mr. Carter got into an argument
because she wanted him to get his belongings out of her apartment. Mr. Lisenby stated that she met Mr. Cater at the
McCormick Projects in South Boston where they got into and argument that became physical. Ms, Lisenby stated at some
point during the argument Mr. Carter hit her in the neck, Officers didn't observe any visible injuries to Ms. Lisenby and she
refused medical treatment. Officers asked Ms. Lisenby why she didn't call 911 and she stated that it happens all the time
and she didn’t want to waste the police officer's time. Ms. Lisenby stated that she wouldn't press any charges. Ms. Lisenby
further stated that she has been dating Mr. Carter for 2 weeks. Officers advised both parties of their 209A rights. Officers
advised both parties to get a police escart before Mr. Carter gets his belongings. Other responding units were the C66S5A
(Davis), C103A (Ranero/Varela), C426A (Farley), and the C901 (Sgt. Webb). This matter will be forward to B-3 Detectives.

KEY SITUATIONS: 2-DVIP

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
2/2013 12:00:00 ‘

1130358316-03 et yeOrp a2 Incident Report B3
Subjects
Name DOB Involvement Current Home Address Employer Occupation
KNOWN TO THE COMMONWEALTH Victim a
KNOWN TO THE COMMONWEALTH Witness '
SGT, DET. JAMES WYSE Reporter Sa!
BENTON & RUIZ DET'S BLACK Reporter aa ee
DIOVANNE CARTER eso  T
Narratives
As a result of an ongoing investigation by Boston Police Homicide, Sergeant Detective Wyse and Detectives Black, Benton
and Ruiz. The suspect Diovanni Carter, DOB 89, has been identified as the person responsible for the shooting
death of the victim on June 12, 2013. This investigation included interviews with persons known to the
Commonwealth in whv @ suspect was identified by witness statements and physical descriptions as the person who shat
and killed the <n with a handgun. As a result, Iam requesting the issuance of an arrest warrent for
Diovanni Carter for Murder, a violation of Mass. General Laws Chapter 265, Section 1; and Unlawful Possession of a Firearm,
Chapter 269, Section 10 (a) and Unlawful Possession of Ammunition, Chapter 269, Section 10 (h)-
KEY SITUATIONS: 8-Others

 

 

 

Incident # Occurred On Offense Reports Address District
8/22/2013 12:00:00

 

 

 

1130358316-04 ,), Incident Report, 650 HARRINGTON AV B3
Subjects
Name DOB Involvement Current Home Address Employer Occupation

COMM OF MASS < T
DIOVANN CARTER IS? Sure:

Narratives

 

 

On 8/22/13 members of the Boston Police Fugitive Unit arrested Diovanni Carter a B/N male bo: aaa ®® on an active
straight warrant out of Dorchester District Court Docket # 1307CR003809. The suspect was charged with Murder Chapt. 265
Sec. 1 Carry a Firearm without a license Chapt. 269 Sec. 10/] and Possession of ammunition without a FID card Chapt. 269

 

 

 

 

about:blank 3/1/2019
BROCK-TMO-000271
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 34 of 52

Page 18 of 36

Sec. 10/TT. The suspect is currently in custody at Nashua St Jail the officers spoke to Sgt Poncia at 1326 hours from the
records department; and he stated that he would pull the warrant off the WMS and would lodge the warrant in his file.

KEY SITUATIONS: 22-Warrant Arrest

 

Incident # Occurred On Offense Reports Address District
ASSAULT -
1152043193-00 5/26/2015 12:00:00 AM AGGRAVATED - No reports 0 WASHINGTON ST & LYNDHURST ST C11
BATTERY

 

 

 

   
 
   
  

Subjects
Name DOB Invelyement Current Home Address Employer Occupation
UNKNOWN Suspect
DARIUS CARTER Owner
DIOVANNI CARTER Reporter
DIOVANNI CARTER  |Ms9 Victim
iecae witness
Eso Witness

 

 

 

 

Vehicles

Plate State Make Model Color
STXAS0 MA ACURA TL BLACK
Narratives

At about 01:33 PM on Tuesday, 02/26/15, Officer Connolly in the H435D responded to a radio call for Shots Fired at the
comer of Washington St and Lyndhurst St in Dorchester, Upan arrival the officer spoke with witness #1 (Rose GREENE DOB
90). GREENE stated that she was parked on Lyndhurst St going to turn onto Washington St when the suspect
unidentified black male) stopped at the corner of Washington St and Lyndhurst St and fired two shots at a black m/v (later

identified as MA REG 5TXA90), which was parked in front of 555A Washington St. The suspect then took off running dawn
Lyndhurst St. GREENE said the suspect was a black male, 17-19 years old, with a blue shirt, black pants and a black
backpack, Witness #2 ) gave the same suspect description and heard the two shots as well. The m/v made a
u-turn and fled down Washington St going outbound. Officers searched the area for the suspect and evidence. Officer were
told that the suspect ran in the back of 30 Lyndhurst St. Officer recovered a black backpack in the driveway of 30 Lyndhurst
which was located behind a blue recycle bin. C-11 Detectives photagraphed the Northface backpack and took it as evidence.
Inside the back pack was a grey Polo hooded sweatshirt, a silver and black 9mm SCCY handgun with a 9mm round
chambered and a black SCCY magazine loaded, Witnesses stated the suspect went behind 30 Lyndhurst St and came out of
36 Lyndhurst St. Witnesses stated the suspect removed his blue t-shirt and then fled down Lyndhurst St in a white t-shirt.
Two 9mm shell casing were found in a bush at the comer of Washington St and Lyndhurst St. The casing were photographed
and collected by C-11 Detectives. The victim (Diovanni Carter DOB se was taking to Boston Medical Center by his
brother Darius Carter (DOB 91). MA REG STXA90 is the m/v that was involved in the shooting and was driven by
Darius Carter. The victim was treated by Dr Thu James for a gun shot wound to the right upper thigh. C-11 detectives
responded to the hospital to interview the victim. The D104D transported Darius Carter to station C-11 for questioning.
Police Officer Lamont Anderson was working a detail in the area of Boston Medical Center and stayed by the m/v along with
the D901 Sgt Ridge until the Officer Barrett the H447D responded to the scene and followed the department tow back to
station C-11. M/v towed by Auto Service and Tire (36954) and tow line notified (Dillon). Boston Police Units that responded:
CKO1D, H425D, H445D, H447D, H812, H818, H915, HAB1, HKO1D, HT55D, TDS24, TE506, TGO2, VK804,VK908.

KEY SITUATIONS: 15-Gun

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
ay ASSAULT -
1152050932 $/19/2015 22:00:00 AGGRAVATED - Incident Report B3
BATTERY
Subjects
Name DOB Involvement Current Home Address Employer Occupation

ee
———— a a

   
 

 

LEE CHARTER SCHOOL JANITOR

 

Narratives

About 8:09 PM Officer Harrison C426F responded to a R/C for shots fired at 19 Elmhurst St. Upon arrival, spoke to victim
who stated she was just shot at while standing with her grandson (Diovanni Carter),(Karrien Lopes), and
ym Mervin) in front of ae © ss Carter stated that two black males were walking on the opposite side of the
street when they shot in their direction. Officer observed ballistic damage (rear /front windshields) to Miss Carter's vehicle
(MA 375FG5) that was parked adjacent ta the park. Officers also observed three cartridges on the sidewalk in front of the

 

 

 

about:blank 2/1/2019
BROCK-TMO-000272
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 35 of 52

Page 19 of 36

park. The cartridges were recovered by the C806 Det Kelly. Units responding C902 Sgt Kearney/ C983 Sgt Det
Fitzgerald /C810 Det Williams C611/ Det Josey /C421F PO Alexis/ C1i02F PO Conroy/PO Wyman.

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
1152051702 9/02/2015 12:00:00 ‘VERBAL DISPUTE Incident Report, BLUE HILL AVE & FABYAN ST a3
Subjects
Name DOB invalvement Current Home Address Employer Occupation

DIOVANNT CARTER NICS Vici
a Le RETA

Narratives

About 5:55pm on Monday June 22nd 2015, Officers Davis and Smith assigned to the CKO2F were flagged down at the corner
of Blue Hil) Avenue and Fabyan Street by Diovanni Carter Co for a Family Trouble. The officers interviewed
Diovanni Carter who stated that he and his ex-girlfriend Skilar Marns (DOB /92) were having a verbal altercation and
he wanted the officers to intervene. The officers were told by Diovanni that he was in the area of Blue Hill Avenue and
Fabyan when Skilar approached his motor vehicle and began banging on the windows (no visible damage). Diovanni said
that he was going to drop off Skilar’s belongings later in the day however she showed up unannounced and was upset about
the breakup. Diovanni gave Skilar back her belongings in the presence of officers and stated that the rest of her items were
in his home at 19 Elmhurst, The officers explained the process of getting a police escort to get the remainder of the items.
Diovanni and Skilar decided to have Diovanni drop off the items to Skilar’s aunt to avoid further contact with each other.
Skilar Morris was escorted out of the area by the officers. Both parties were advised of their 209A rights.

 

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
6/27/2015 12:00:00 VAL - OPERATING
1152053300 Ay AFTER REV/SUSP. Incident Report, NEW ENGLAND AVE & NORWELL ST B3
Subjects
Name DOB Involvement Current Home Address Employer Occupation
DIOVANN CARTER IS Avrosted__—O
Narratives

About 7:58 p.m, Officers Gigliello and McDermott in the H102F on 06/27/2015 observed a violation of the auto laws on
Talbot Ave and Norfalk Street Dorchester MA 02124. Officers observed a 2003 gray and black Honda Accord coupe MA REG
397XE1 operating inbound on Talbot Ave by Carter, Diovanni (DOB: na? 185 pounds, 6'01 in height) which is
known to Officer McDermott to have a suspended license. Officers performed a CJIS inquiry in order te confirm that Carter,
Diovanni license was in fact suspended. the CJIS inquiry confirmed that Carter Diovanni license was suspended. Officers
activated the lights and sirens to stop the motor vehicle. The suspect (Diovanni) handed Officer McDermott his identification
card and stated that he did not have his license on him. Officers Gigliello and McDermott informed him that his license was
suspended and the suspect stated he was aware of the suspension and was going to take care of the issue. The suspect
(Carter, Diovanni) was placed under arrest for operation with a suspended license. The vehicle's owner was on scene (Achao,
Marvin DOB: 91). the vehicle was turned over to him. Officers issued MA uniform citation R6330757 for no
inspection sticker to the owner Achao, Marvin.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
7/30/2015 12:00:00 VAL - OPERATING -
1152063089 AM AFTER REV/SUSP. losident Report, MORTON ST & VERRILL ST B3
Subjects
Name DOB Involvement Current Home Address Employer Occupation
COMM OF MASS Victim r
DLOVANNE CARTER RNS Acrestec
Vehicles
Plate State Make Made! Color
1GMB96 MA HOND acc BLA
Narratives
About 11:00pm on July 3ist 2015, Officers Davis, Smith, and Boston Housing Officer Keller assigned to the CkQ2F observed
a Violation of the Auto Laws (VAL) resulting in an Arrest at Morton Street and Vernill Street. Officers observed Diovanni
Carter (008 [JS9), who is known to the officers, operating a gray Honda Accord coupe (MA REG #1GM896) on Blue Hill
Avenue in the area of Brookview Street. Officers were familiar with Diovanni's license status being Suspended and were also
aware of an open Operating After Suspension charge Diovanni had picked up a month prior, Officers stopped the vehicle at

about:blank 2/1/2019

BROCK-TMO-000273
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 36 of 52

Page 20 of 36

Morton Street and Verrill Street after querying CJIS to determine if Diovanni's license was indeed still Suspended which it
was. Diovanni Carter was issued Citation R6535602 for C90 510 Operating After Suspension. Diovanni Carter was placed
under arrest for C90 s10 Operating After Suspension. Diovanni was transported to B3 by the C112F Jones and Stallings.
When Diovanni Carter was placed into the cell, post Miranda, he stated to Officer Keller, "I'm really going to give y'all
something to work for later." A form 2012 was completed and the Tow Line was notified (Bellew).

 

 

 

 

Incident # Occurred On Offense Reports Address District
can.an ASSAULT -
ris2i03e17 32/18/2045 12:00:00 AGGRAVATED - 2 reports Sea B3
BATTERY
Subjects
Name DOB Involvement Current Home Address Employer Occupation
DIOVANNI M CARTER HE«: victim are =e) SERVEPRO
P.O.'S CONROY/MACIVER Reporting Person,

——= Mics: Witness =) _|

 

 

 

Vehicles

Plate State Make Model Color
46CC77 MA HOND ACC GRA
Z58EKK MA HYUN SON GRA
BLRL8O MA CHEV TBZ BLA
L48798 MA WHI
Narratives

About 17:58 hours on Wednesday, December 16, 2015 Officers Conroy and Maciver in the C102F on sited a Person Shot at
11 Moody Street Dorchester, MA 02124. Officers Conroy and Maclver while stopped at the traffic light on Washington Street
st Dunbar Avenue heard approximately eight (8) to ten (10) shots fired in the area of Dunbar Avenue and Moody Street. The
officers notified operations, turned onto Dunbar Avenue, exited their cruiser, heard an additional four (4) to five (5) shots,
and proceeded down Dunbar Avenue on foot where the located the Victim (Carter) suffering from what appeared to be gun
shot wounds in front of 11 Moody Street. Carter told the officers that he was at the corner of Moody Street and Dunbar
Avenue when the Suspect (Unknown) fired shots at him from Roberts Playground. Boston EMS 3P03 (Souza/Yaffe), 3D02
(Cotter), 3419 (Brinson/Hamilton), 3A92 (Devlin), and 5C085 (Hassan) responded and transported Carter to Boston Medical
Center for further evaluation. Shot Spotter activated the following mes: 17:58 hours at 23-25 Dunbar Avenue with fifteen
(15) rounds, 17:59 hours at 41 Armandine Street with five (5) rounds, and 17:59 hours at 36-98 Dunbar Avenue with four
(4) rounds. Four (4) shell casings were located on the sidewalk next to the Unity Club on Dunbar Avenue and six (6) shell
casings were located in Roberts Playground. District 3 Detectives (C982 - Sergeant Detective Thomas, C810 - Williams, CB17
- Foley, C805 ~ Ricard) responded and processed the scene. Vehicle #1: MA REG: 46CC77 - 2005 Gray Honda Accord was
observed with ballistic damage to its rear driver's side door across from 13 Moody Street, Vehicle #2: NJ REG: ZS8EKK -
2015 Gray Hyundai Sonata was towed back to District 3 by Auto Service and Tire. Vehicle #3: MA REG: 3LRLBO - 2004 Black
Chevy Trailblazer was observed with ballistic damage to its passenger side mirror across from Moody Street on Dunbar
Avenue. Vehicle #4: MA Commercial REG: L48798 - 2000 White STERL Box Truck was observed with ballistic damage to its
passenger side window across Moody Street on Dunbar Avenue. Other units responding: C902 (Sergeant Kearney), CLOLF
(Jones/Pereira), C436F (Alexis), H447F (Barrett), H103F (Tibets/Cavanaugh), H679F (ones), H681F, T602
(Cloran/Goodman), HKO1F, C431F, CLO3F (Lacroix/McPherson), C411F (Devito), TD520, TD527 (Hartington), C202F
(Garcia/Velez), and CKOLF (Robertsan/Maldonado/Keller),

During the orginal incident on 12/16/15 there was a 911 call stated that an an unknown black male came to the back door
of 14 Torrey St stating that someone was trying to hurt him. The unknown caller stated that she did not allow the person
entry but allowed him to remain in the back stairwell. The caller described this individual as black male in his 20's, 6 feet in
height, thin build, The caller stated that she did not remember the clothing but believed a black jacket. Members of the
Boston Police, including Detective Anthony Williams responded and conducted a protective sweep. During this sweep they

 

 

 

 

 

 

found in the rear stairwell. did not have a coat on and it should be noted that this occurred in December

and was cold at the time. stated that he was in the rear stairwell to see a friend. During the protective sweep

Detective Williams located a discarded black coat in a storage area of the rear stairwell near where ia’ was located.

Officers checked with residents of this address and all stated that they do not know or own the black jacket found.

Detective Williams recovered the coat and tumed it over to Detective Ricard who wi orward to the State Police Crime Lab

for gunshot residue testing and DNA. is a known associate of the victim, Diovanni Carter. was transported to

B-3 for fallow up with Detectives Ricard and Foley.

Incident # Occurred On Offense Reports Address District

1162015283 2/26/2016 12:00:00 VanpaLism - Incident Report i ST B3

Subjects

Name Involvement Current Home Address Employer Occupation

DOB
DIOVANNI CARTER [89 = Suspect _— a: SERV PRO

DIOVANNI CARTER oB9 Suspect STRIVE STUDENT

 

 

 

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BROCK-TMO-000274
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 37 of 52

Page 21 of 36

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Narratives
About 4:49pm, Friday, 02/26/16, Officers Parker and Stallings (C101F) responded to a radio call for a Non-Intimate
Domestic Violence call at ., Upon arrival Officers spoke with an unidentified male who was

confrontational and refused to speak with officers and stood in front of the door, he then entered apartment #2 and shut the
door. Officers then spoke to the reporting person Lori Major, who stated she had called the police, and wished to speak with
Officers in regards to her son (Diovanni Carter) who was no longer on scene. Major stated her son (Carter) had become
upset with her because he wanted to borrow her car keys, but she refused. Major stated Carter left the home and began to
punch out the three small windows to the front door leading to apartment #2. Major informed the Officer that her son then
fled the home immediately after breaking the windows, but she could not provide a description, Major denied any physical
abuse, and was informed of her domestic violence (209A) rights, and how to obtain a restraining order. All residents refused
services. District detectives arrived on scene and documented the damages. Also present was Sergeant Champagnie (C908).

 

 

 

 

 

 

Incident # Occurred On Offense Reports Address District
WEAPON - FIREARM -
1162016808 Barents 12:00:00 CaRRyING / = 2 reports = aei B3

POSSESSING, ETC

Subjects

Name DOB Involvement Current Home Address Employer Occupation

COMM OF MASS Victim '

DIOVANNI CARTER G22 Arrested ieee) SERV PRO

DIOVANNI CARTER 89 Arrested SS ae | STRIVE STUDENT

DIOVANNI CARTER HR S2 Suspect SST] SERV PRO

DIOVANNI CARTER ®9 Suspect SST STRIVE STUDENT

SHAATRONAK SIMS [Moo = Arrested BESET BANK OF AMERICA — TELLER

 

 

 

Narratives

On 3.3.2016 at about 1:24 AM Ofc’s Lanteigne and Robichaud (CKO1A) along with Sgt Brooks (C903) were on patrol in the
area of Norfolk Street at Whitfield Street when they observed a blue Toyota Camry (MA PC 7FBE20) with illegal window tint
that Ofc Robichaud immediately recognized to be frequently operated by Diovanni Carter <I ® from

. It should be noted that on 1.22.16 Ofc Lanteigne and Robichaud had stopped and cited Diovanni Carter
‘or the same illegal window tint on the same vehicle (which was measured at that time with a tint reader and found to be in
vialation). The vehicle was also observed to be missing its driver's side mirror, due to damage. Officers immediately turned
on their blue lights just prior to the intersection of Norfolk Street at Oakwood Street and observed the brake lights of the
vehicle immediately illuminate, indicating the operator observed the Officers blue lights. The vehicle slowed dawn but did not
pull over at the first available open spaces on the right hand side of the roadway but rather continued to travel at a very
slow speed, Officers observed the silhouette of a head (later identified as Diovanni Carter) rise up from the passenger's seat
then disappear. The vehicle continued to proceed forward at a very slow pace and not pull over for another short distance
before finally coming to a stop at the intersection of Norfolk St at Chipman St. Officer Robichaud (who was driving),
illurninated the cruiser spotlight through the window and was able to recognize the front passenger as Diovanni carter when
he had looked back. Once stopped Officers observed Diovanni Carter’s body rise back up, look back at the Officers then bend
down to his left and again out of sight. Due to the above concerning movements and for safety concerns (by Carter), Ofc
Lanteigne immediately notified operations of the stop, and requested another unit of officers who were in marked cruisers
and uniforms, to assist them. Then the Officers approached the vehicle. Officers Prior Knowledge of Diovanni Carter: Officers
are aware that he (Diovanni Carter) associates with individuals who have been involved in violence and firearm activity from
Codman Square, and who have been referred to as Hitfam. Officers have had personal dealings with him and arrested him in
the past. He has been both the suspect and the victim of firearm violence. He has been shot at least twice that the officers
are aware of; within just the last year. He was shot on 02/26/15 (CC#152053193), and then shot again multiple times just
three months ago on 12/16/15 (CC#152103817). He lives ae and that address has recently been an ongoing
concern for Officer Safety threats against Law Enforcement from individuals living at that address. These threats have been
recent. In the last month, these incidents have included, yet not been limited to: (1.) On Feb 6th, 2016, both of his brothers
and his uncle confronted the police and one of them (Karriem Lopes) threatened to shoot the police in the future and made
references to law enforcement being killed. His other brother (Darius Carter) made similar threats and was arrested on a
warrant, During this same incident, his uncle (Clarence Sanders) insisted on a fist fight with an officer whom he made
numerous attempts to intimidate (CC# 142059679.) (2.) A few nights after this incident, the same officers stopped his uncle
(Clarence Sanders o a) during a traffic stop; and during that time, he mentioned that his family did not
respect law enforcement, and that he reminded the officers that his intent would be to fight any police who attempt to touch
him. He then made a specific reference to the make and model of the officer's personal vehicle. (3.) On Feb 15th, 2016
Darius Carter announced to police that he had guns and that he planned to kill a cop. (CC# 162012205). (4.) On Feb 27th,
2016, that same brother referenced that he had, in his house, multiple guns, and that one of them specifically looked like
the “same guns that officers carry” (CC# 162015663). Specific to Diavanni Carter, Ofc’s are aware that Diovanni Carter has
a history of firearm convictions and has in fact been arrested for Murder in the past, Based on his seriously violent criminal
record which includes Homjcide and multiple gun charges; as well as the fact that he has been heavily targeted for violence
over the last year (as recently as just the last few months) where the officers would fear that he may potentially arm himself
with another gun to defend himself from further attacks; as well as the fact that three separate members of his family have
threatened to kill or fight law enforcement within just the last month; the officers (during this vehicle stop) had a uniquely
high concern for their safety. Upon Approaching the Vehicle: The Ofc's identified the operator through her MA ID as
Shaatrona Sims dob 90. Ofc Robichaud asked Sims if she had a valid license or if it’s just an ID and she stated it was

 

 

 

 

about:blank 2/1/2019
BROCK-TMO-000275
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 38 of 52

Page 22 of 36

just an 1D card. Sgt Brooks who was at the passenger side window, observed a male whom he knew to be Diovanni Carter,
and that Carter did not have a seat belt on, and he appeared to be sleeping. This was concerning, based on the fact that he
had just been seen to be briefly yet actively moving, and now remaining frozen and seemingly asleep. And so, in order to
ascertain his registry information, he requested ID from Carter who sat up, gave Sgt Brooks his license then laid back down
in a full recline position, Ofc Robichaud retumed to the cruiser to check the status of Mrs. Sim's license and Ofc Lanteigne
asked Sims where they were coming from and she stated Cambridge. Officer asked Carter why Sims was driving if he had a
license and he said it was because he was tired, Ofc Robichaud retumed to the vehicle and advised Officers that he
confirmed that Sims was in fact unlicensed. Officers Lanteigne and Brooks remained vigilantly close to his car to monitor
Carter closely and to restrict his movement while they awaited backup. Ofe Gomes (C411A) arrived and now that backup
was on scene Officers asked Carter and Sims to exit the vehicle so that the Officers could perform a frisk of Carter and the
Vehicle. Ofc Lanteigne spoke with Carter and Sims while Ofc Robichaud and Sgt Brooks frisked the vehicle. Sgt Brooks then
observed the center console area near the shifter, did not appear naturally fastened indicating it had previously been opened
and shut. Sgt Brooks, with minimal effort, lifted the console and observed a black semiautomatic firearm. He alerted the
other officers who immediately handcuffed Carter and separated him from Sims. Sgt Brooks, in the company of Ofc
Robichaud read Sims her Miranda from a card and she verbally stated she understood. She was asked if she had anything
illegal in the vehicle and she stated no. She was asked if she knew if Mr. Carter had anything illegal in the vehicle and she
stated no. Sgt Brooks then advised her that, upon stopping the vehicle, Officers had observed Carter (who was ina full
recline “seat back” position), pop up and look back at the Officers, and then bend over and lean down to his left, and then
pop back up a few seconds later, look again (back at the officers), and then lay back down and pretend to sleep after
covering himself with a sweatshirt. He then asked her if he (Carter) had possibly hidden anything, and she said that she did
not know of anything. Ofc Lanteigne, in the presence of Oft Gomes read Carter his Miranda rights (from Sgt. Brooks’ same
Miranda Card) and asked if he understood his rights and he stated “yea.” Officer Lanteigne asked Carter whose vehicle it was
and he stated it was his family’s car. Officer asked how often he drives it and he stated “avery now and then.” Officer asked
what he did tonight and he stated that he drove to pick her up (referring to Sims) then come here. He was then placed into
the rear of Ofc Trull and Hovsernan cruiser and transported to 83 for booking. Sims was also placed under arrest and
transported by Ofc’s Miller and Smith (C202A) ta B3 for booking. Sgt Brooks requested Special Operations ta respond with a
Thermal Imager and Ofc’s Hicks and Williams (TG02) responded and photographed the firearm (see their report.) Canine Ofc
Lawton (TE513) also responded and assisted. Sgt Brooks then photographed the firearm, vehicle and scene. Officers Seized
the follawing 5 phones which were turned over to detectives (a white i-phone 6S, a black ZTE, a black Lg, 2 blue i-phone 5C,
and a black Lg Boost Mobile.) Officers also seized one document from the vehicle in the name of Diovanni Carter which was
entered into property. Officers also noted two digital scales inside the vehicle. At booking officers noted $2,309.00 which was
recovered from Diovanni Carter. The money was folded into 23 separate stacks of (5) 20 Dollars Bills with a rubber band
holding all the stacks together. The vehicle was towed by Always Open, claim #20035 (Form 2012 completed / Rodriguez
notified.) Per Sgt Detective Fitzgerald the vehicle was then towed by Auto Service and Tire to B3, claim #41249. Once at the
station, Sgt Brooks cleared the firearm and observed that it was 2 Glock 9mm, Serial #BED291. The firearm contained an
inserted 10 round magazine that was empty, however, the firearm (with chamber) would be capable of holding 11 rounds.
He then turned the firearm over to Sgt Detective Fitzgerald (C983) who fumed the firearm and it was submitted as evidence.
Detective Williams (C810) responded to the station and assisted. It should be noted that the firearm recovered closely
resembles (by color, physical size, and make) the same firearm that Officers carry as threatened by Darius Carter to Officers
in the statement referenced earlier in this report. Sims was charged with the following offenses: Arrest Citation #R6702534
and R6702535 was issued to Sims for Unlicensed Operation 90-10 Operating Unlicensed 90-9D Excessive Window Tint and
90-7 Operating with Broken (Missing) Driver's Side Mirror, Carter was charged with the following offenses: Arrest Citation
#R6702533 was issued to Carter for 90-13A for Seatbelt Violation and 90-12 Allowing Unlicensed Operation and he was
charged with the additional criminal offenses: 269-10a Unlawful Possession of a Firearm 269-10m Possession of a Large
Capacity Firearm 269-10G(a) Armed Career Criminal (dkt#’s 1011125001, 0907cr000271a, D105d1232, 0902CRO05690E.)
4, 269-10d Prior Firearm Convictions (Dkt #’s 1011125001, 0907cr000271a, b10Sd1232)

About 7:20 am, Tuesday, 09/06/2016, Officers Robichaud, Lanteigne, and Poulos in the CKO1LA unit made an on site warrant

 

 

 

 

 

 

arrest of Diovanni Carter ) at Nevada St and Codman Hill Ave. Officers placed Diovanni Carter under arrest by

virtue of a Straight Warrant issu m Suffolk Superior Court by the Honorable Anne Kaczmarek on 8/19/2016. Warrant #

WRS247338TC was issued for 269/10/K Firearm, Carry without License, ond Off. Warrant unit notified via Fax.

Incident # Occurred On Offense Reports Address District
RECOVERED - MV
seit RECOVERED IN L
1162072535 9/6/2016 12:00:00 AM Qocron (STOLEN Incident Report CODMAN HILL AVE / NEVADA ST B3

OUTSIDE BOSTON)

Subjects

Name DOB Involvement Current Home Address Employer Occupation

SOCIETY Victim r

DIOVANNI CARTER HE S2 Arrested SS are] SERV PRO
DIOVANNI CARTER E> rested er | STRIVE STUDENT

 

 

 

Vehicles

Plate State Make Model Color
7FBE20 MA TOYT CAM BLUE
Narratives

On 9.6.2016 at about 7:15 AM Officers Lanteigne, Robichaud and Poulos (CKO1A) were on Codman Hill Ave at Neveda Street
when they observed Diovanni Carter dob [MJ &9 enter a stolen motor vehicle, MA PC 7FBE20 (2011 Toyota Camry color

 

 

 

 

about:blank 2/1/2019
BROCK-TMO-000276
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 39 of 52

Page 23 of 36

blue.) Officers were familiar with Carter as having an active Felony Warrant #WR5247339TC for Carrying a Firearm without
a license issued 6.6.2016 by Judge Kaczmarek. Officers approached Carter and he was placed under arrest for the warrant
without incident. An inventory was performed, 2012 completed and Auto Service and Tire towed the vehicle (claim #43586)
back to B3 and secured in the evidence bay. Lt Det Kern was given the vehicles key. The tow line (Wall) was called and
Teletype (Webster) was notified to remove the stolen status from the system. Carter will be charged with Receiving Stolen

Motor Vehicle.

 

 

Incident # Occurred On Offense Reports Address District

WEAPON - FIREARM ~

 

 

1182056104 sea 2018 12:00:00 CaRRvING / 4 reports S77) B3
POSSESSING, ETC
Subjects
Name DOB Invalvement Current Home Address Employer Occupation
COMM OF MASS Victim c
COMM. OF MASS Victim aaa |
UNKNOWN Victim "

ee

DIOVANNE CARTER N° Arrested
DIOVANN: CARTER NF Suspect

 

 

 

 

Vehicles

Plate State Make Model Color
NISS PTH GRA

Narratives

About 8:53 PM on Monday, 7/16/2018, Officers Lajara/Sasa assigned to the C113F responded to a radio call for a Shoat
Spotter Activation at 11 Elmhurst Street, Dorchester. Upon arrival, officers inspected the surrounding areas of Elmhurst
Street and recovered S shell casings in front a Detective Fogarty (C812) and Detective O'Brien (C818)
processed the scene and took photographs of the ballistic evidence.
On 07/17/2018, at approximately 6:45PM, Detective Fogarty (C812), Detective Young (C801) and Detective O'Brien (C818)
responded to 108 Norfolk Street relative to a vehicle that sustained ballistic damage from the shooting that occurred at 11
Elmhurst the previous evening. On arrival, Detective Fogarty photographed the damage to the motor vehicle. Detective
O'Brien recovered ballistic fragments from the area of the driver's side window. Photos and Ballistic evidence logged into
EMD
On 7/16/18, 8-3 Units and Detectives responded to the area of 11 Elmhurst St for a shot spotter activation. Upon arrival,
ballistic evidence was recovered, processed, and secured. After an investigation, Detectives canvassed the area and
recovered video. Detectives were able to locate and identify an individual in the video that fired shots in front of|
This individual appeared to be shooting in the direction of three unknown individuals in the area of Norrolk St and
im: St. The suspect fled back to the area of| . A-suspect was developed from viewing the video and photo
stills of the individual were shown to Officers that nave had past interactions with him. S/D Ford and Officer Fabiano both
independently identified the individual shooting down Elmhurst toward the three individuals as Diovanni Carter DOB
ae. This is an ongoing investigation. Detectives will be seeking complaints from Dorchester District Court for
Unla Possession of a Firearm (269-10a), Second and Subsequent Possession of a Firearm (269-10(d)), Carrying a
Loaded Firearm (269-16n), Discharging a Firearm within 500 feet (269-12E), Assault by means of a Dangerous Weapon
(265-15B), Attempted Assault and Battery by Means of Discharging a Firearm (265-S15(F)), and Armed Career Criminal II
(269-10G(b)). ADA Kettlewell notified.

 

Warrant Arrest Mr. DIOVANNI CARTER Dos: SS at Centre St./Marcella St. in Roxbury.

 

 

 

 

‘Field Interviews (44)
Hide All Field Contact Details
FI # FI Date FI Location FI District
E150004164 6/12/2015 WARREN ST & WAVERLY ST B2
Subjects
Name boa Sex Race Height Weight
DIOVANNI M CARTER a? M 8 601 175

 

 

 

Contact Reason
*HITFAM REASON FOR INTERROGATION, OBSERVATION, FRISK OR SEARCH: PERSON WITH A GUN CALL ON DAY TOUR/
SUSPENDED LICENSE

 

 

Vehicles

 

 

 

 

about:blank 2/1/2019

BROCK-TMO-000277
Case 1:19-cr-10104-ADB

Document 86-19 Filed 10/02/19

Page 40 of 52

 

 

 

 

 

Page 24 of 36
Plate Plate Year State Vehicle Year Make Model Color Style
397XE1 MA 2003 BLACK
FI # FI Date FT Location FI District
F150003560 6/22/2015 BLUE HILL AVE & FABYAN ST Ba
Subjects
Name DOB Sex Race Height Weight
DIOVANNI CARTER i M B 601 175

 

 

 

Contact Reason

THIS VEHICLE IS CONFIRMED AS IN USE BY DIOVANNI CARTER. OFFICERS DID NOT OBSERVE DIOVANNI OPERATING THE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VEHICLE HOWEVER. VEHICLE IS REGISTERED TO: MARVIN ACHAO (008 ao») WITH MULTIPLE FIREARM CHARGES.

Vehicles

Plate Plate Year State Vehicle Year Make Model Color Style

397XE1 2016 MA 2003 HONDA ACCORD GRAY PASSENGER CAR
FI # FI Date FI Location FI District
Elsog05678 7/22/2015 BLUE HILL AVE & GREENOCK ST B3

Subjects

Name DOB Sex Race Height Weight

DIOVANNI CARTER aa ©? M B 601 175

Contact Reason

ORIGINAL STOP: OBSERVATION REASON FOR FIO: HIT-FAM ASSOC

Vehicles

Plate Plate Year State Vehicle Year Make Model Color Style

1GM896 2017 MA 2003 HONDA ACCORD BLACK. PASSENGER CAR
FI # FI Date FI Location FI District
Eisogos26 9/27/2015 ae Ba

ee

Subjects ‘

Name DOB Sex Race Height Weight

DIOVANNI CARTER am: M 8 601 175

Contact Reason

OBSERVATION ONLY HIT FAM ASSOCIATE
Fl# FI Date FI Location FI District
F160012198 1/18/2016 za B3

Subjects

Name DOB Sex Race Height Weight

DIOVANNI CARTER M B 601 17s

 

 

 

Contact Reason

OBSERVED M/V OP WITH DIOVANNI AT WHEEL- EXP LIC. M/V WAS STOPPED IN HIS DRIVEWAY.

CARTER** ** 06 eeaeeee ctkhhe ke ees ee eee ACTIVE HIT-FAM™***** eee See’ Cee Se

 

 

 

 

 

 

 

 

Vehicles
Plate Plate Year State Vehicle Year Make Model Color Style
7FBE20 2017 MA 2011 TOYOTA CAMRY BLUE PASSENGER CAR
Fl FI Date FI Location FI District
2/5/2016 20 DARLINGTON ST B3
about:blank 2/1/2019

BROCK-TMO-000278
Case 1:19-cr-10104-ADB Document 86-19

Filed 10/02/19 Page 41 of 52

 

 

Page 25 of 36
£160012924
Subjects
Name DOB Sex Race Height Weight
FRANCISCO U BARROS |e M B Sil 180
DIOVANNI CARTER zr M B 601 175

 

 

 

Contact Reason
YVSF INVESTIGATION- BOTH ABOVE INDIVIDUALS ARE HIT-FAM ASSO!

MOVEMENT TOWARDS THE GROUND ON OFFICERS APPROACH OF THE

EXCESSIVE WINDOW TINT (REAR DRIVERS DOOR WINDOW 27%) OPERATOR DIOVANNI CARTER MADE A FURTIVE

CIATES WITH PREVIOUS F/A CONVICTIONS

MOTOR VEHICLE.

 

 

 

 

 

 

 

Vehicles

Plate Plate Year State Vehicle Year Make Model Color Style

7FBE20 2017 MA 2011 TOYOTA CAMRY BLUE PASSENGER CAR
Fl# FI Date FI Location FI District
E180014320 3/3/2016 68 NORFOLK ST B3

Subjects

Name DOB Sex Race Height Weight

SHAATRONA SIMS imo F B 509 140

DIOVANNI M CARTER(TROUBLE) a: M B 601 185

 

 

 

Contact Reason
ABOUT 1:25 AM, OFFICERS ROBICHAUD AND LANTEIGNE ALONG WITH

DOWN BUT DID NOT FULLY STOP ON SEVERAL OCCASIONS WHEN THE

(UNLICENSED OPERATION). BASED ON MR. CARTER'S MOVEMENTS HE

(EXCESSIVE TINT AND BROKEN DRIVER SIDE WINDOW) AT 68 NOROLK ST. THE OPERATOR, SHAATRONA SIMS, OF THE
VEHICLE DID NOT HAVE A LICENSE TO OPERATE A MOTOR VEHICLE. ALSO PRESENT IN THE VEHICLE WAS DIOVANNI
CARTER, KNOWN HIT-FAM ASSOCIATE. WHEN OFFICERS ACTIVATED THE LIGHTS AND SIRENS THE VEHICLE SLOWED

VEHICLE STOPPING OFFICERS OBSERVED MR. CARTER RAISE HIS BODY OFF OF HIS SEAT AND LOOKED BACK AT
OFFICERS. JUST PRIOR TO THE VEHICLE STOPPING AND OFFICERS APPROACHING OFFICERS OBSERVED HIM AGAIN
RAISED HIS BODY UP AND LEAN TOWARD THE CENTER CONSOLE. WHEN OFFICERS APPROACHED THE VEHICLE MR.
CARTER PRETENDED TO BE ASLEEP WHEN OFFICERS GOT TO THE VEHICLE. MRS. SIMS HANDED OFFICERS A MASS ID AND
CONFIRMED TO OFFICERS SHE DID NOT HAVE A VALID LICENSE. SHE WAS PLACED UNDER ARREST FOR 90/10

FRISKED HIS IMMEDIATE AREA. OFFICERS OBSERVED THE CENTER CONSOLE TO BE SLIGHTLY AJAR AND WAS EASILY
LIFTED WITH MINIMAL EFFORT. OFFICERS LOCATED A FIREARM IN THE NATURAL VOID UNDER THE AJAR CENTER
CONSOLE AREA. MR. CARTER WAS PLACED UNDER ARREST FOR FIREARM RELATED CHARGES.

SGT BROOKS STOPPED MA REG 7FBE20 FOR VALS

VEHICLE HAD SPACE TO STOP. PRIOR TO THE

WAS REMOVED FROM THE VEHICLE AND OFFICERS

 

 

 

 

 

 

 

 

Vehicles

Plate . Plate Year State Vehicle Year Make Model Color Style

7FBE20 2017 MA 2011 TOYOTA CAMRY BLUE PASSENGER CAR
FI # FI Date Fi Location FI District
F180032529 1/19/2018 GERARD ST & ISLAND ST B2

Subjects

Name DOB Sex Race Height Weight

DIOVANNI CARTER a M B 601 175

 

 

 

Contact Reason

FIREARMS AS WELL AS DRUGS. CARTER AND VEHICLE WERE FRISKED
WARNING AND RELEASED. B103A (MCBRIEN/DUNN)

ABOUT 1:25 AM OFFICERS STOPPED A 2007 BMW R350 IN THE AREA OF ISLAND AND GERARD STREET FOR VALS. VEHICLE
WAS OCCUPIED BY ACTIVE HIT-FAM MEMBER DIOVANNI CARTER. CARTER HAS A VERY ACTIVE HISTORY AROUND

WITH NEGATIVE RESULTS. ISSUED VERBAL

 

 

 

 

 

 

 

 

Vehicles
Plate Plate Year State Vehicle Year Make Model Color Style
39421 2019 MA 2007 MERCEDES-BENZ OTHER WHITE PASSENGER CAR
fe FI Date FI Location FI District
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BROCK-TMO-000279
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 42 of 52

Page 26 of 36

 

 

 

 

 

Fi80032922 2/6/2018 6 HARTFORD ST B2
Subjects
Name DOB Sex Race Height Weight
DIOVANNI CARTER a <° M B 601 175
TRACY COLEMAN = M B 511 155
Contact Reason

TRAFFIC STOP - RED LIGHT VIOLATION OPERATOR (CARTER): ACTIVE HIT-FAM, MULTIPLE FIREARM CHARGES, PRIOR
MURDER CHARGE PASSENGER (COLEMAN): ACTIVE WOODLEDGE CJIS WAS DOWN (AFTER 3AM) AND AN RMV
INVESTIGATE SEARCH INDICATED THAT CARTER'S LICENSE WAS SUSPENDED. HE WAS CONFRONTATIONAL WITH
OFFICERS AND INITIALLY STATED, "CALL YOUR CAPTAIN, CALL YOUR BOSS, I'M NOT GETTING OUT OF THIS CAR." HE WAS
REMOVED FROM THE VEHICLE, AND EVENTUALLY CALMED DOWN. A LATER CJIS QUERY REVEALED HIS LICENSE WAS
ACTIVE; THEY WERE RELEASED WITH A WARNING FOR THE VALS.

 

 

 

 

 

 

 

Vehicles

Plate Plate Year State Vehicle Year Make Model Color Style

3942¥1 2019 MA 2007 MERCEDES-BENZ OTHER WHITE PASSENGER CAR
Fl FI Date FI Location FI District
Fip003395 3/22/2018 MASSACHUSETTS AVE & POMPEII ST c6

Subjects

Name DOB Sex Race Height Weight

DIOVANNI CARTER mr M B

 

 

Contact Reason
OFFICERS WERE PARKED IN THE AREA OF PARKING LOT OF MCDONALDS AND OBSERVED A MALE WHO APPEARED TO BE A

TO HAND TRANSACTION AND THE VEHICLE LEAVE THE AREA. OFFICERS CONDUCTED A TRAFFIC STOP IN THE AREA OF
MASS/POMPEIL OPERATOR: DIOVANNI CARTER (ACTIVE HITFAM MEMBER) ( MULTIPLE F/A CONVICTIONS, MURDER
CHARGE IN 2014 OUT OF SUFFOLK SUPERIOR FOR HOMICIDE OF JAJUAN GRIFFIN ) WHILE OFFICERS SPOKE TO MR.
CARTER HE APPEARED TO BE EXTREMELY NERVOUS AND HIS STORY TO SWITCH MULTIPLE TIMES. OFFICERS HAD

MR. CARTER STEP OUT OF THE VEHICLE TO PERFORM A PAT FRISK TO NO AVAIL. WHILE OFFICERS WERE PAT FRISKING
VEHICLE MR, CARTER WAS CONTINUED TO LOOK BACK AT OFFICERS. DURING THIS INTERACTION MR. CARTER MADE
STATEMENTS THAT HE WAS "NOT GOING BACK TO JAIL NO MATTER WHAT". OFFICERS FIO'D FOR INTEL AND RELEASED
BKOIA (STALLINGS/STARKEY/SMERZ)

DRUG USER WALK UPTO A VEHICLE IN THE SUNOCO PARKING LOT, OFFICERS OBSERVED WHAT APPEARED TO BE A HAND

 

 

 

 

 

 

 

 

about:blank

 

Vehicles

Plate Plate Year State Vehicle Year Make Model Color Style

39421 2019 MA 2007 MERCEDES-BENZ OTHER WHITE PASSENGER CAR
Fl+ FI Date FI Location FI District
Fiso036354 6/16/2018 12 14 KINGSDALE ST a3

Subjects

Name DOB Sex Race Height Weight

SELVEN HANDY >: M B

DIOVANNI M CARTER(TROUBLE) aa: M B 601 185

DASUAN C JACOBS(N/A) =: M B 601 210

RAY 1 JOHNSON s° M OB 509 210

WESLEY PEREIRA a>: MB 160

HASAUN DAILY a: M B 600 140

JOSHUA J MADISON(JOSH) aaa: MOB

KELVIN D JONES | M OB 602 170

DWAN DANTE KNIGHT(VOO HEAD/VH) aa: M B Sil 180

 

 

Contact Reason

YVSF OFFICERS OBSERVED THE FOLLOWING GANG INDIVIDUALS TOGETHER AT A SHOOTING SCENE OF A GRADUATION
PARTY IN THE AREA OF 12-i4 KINGSDALE ST ABOUT 1930 HRS ON SATURDAY JUNE 16, 2018 SELVEN HANDY - FRANKLIN
HILL (SWEATING PROFUSELY, CUTS ON HANDS, DIRT ON JEANS AND SNEAKERS) WESLEY PEREIRA - NORFOLK ST
DIOVANNI CARTER - HIT-FAM DASUAN JACOBS - CRESTON ST / LIVE BY MONEY RAY JOHNSON - CODMAN SQUARE /

 

 

 

2/1/2019

BROCK-TMO-000280
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 43 of 52

Page 27 of 36

MILLET ST HASSAUN DAILY — FRANKLIN HILL (INACTIVE) JOSHUA MADISON - CODMAN SQUARE / MILLET KELVIN JONES -
GREENWOOD DWAN KNIGHT - NORFOLK ST / CP2 / LEVANT VEHICLES ON SCENE ASSOCIATED WITH THESE INDIVIDUALS
6YY154 - REGISTERED TO HASSAUN DAILY 6VH842 - GRAY DODGE AVENGER BKZ181 - RED HYUNDAI ACCENT RENTAL
3PB292 - REGISTERED TO WESLEY PEREIRA

 

 

 

 

 

 

Vehicles

Plate Plate Year State Vehicle Year Make Model Color Style

6YV 154 2020 MA 2008 NISSAN SENTRA BLACK PASSENGER CAR
A # FI Date FI Location FI District
£18003 6/22/2018 110 COLUMBUS D4

Subjects

Name DOB Sex Race Height Weight

DIOVANNI M CARTER (as? M 8

 

 

 

Contact Reason

ON FRIDAY JUNE 23RD AT ABOUT 10:25PM, OFFICER TAYLOR IN THE D445F CONDUCTED A MOTOR VEHICLE STOP ON A
GRAY DODGE AVENGER MA REG 6VH842. THE VEHICLE IS REGISTERED TO A SHAATRONA k SIMS FOR A TRAFFIC
VIOLATION AT 110 COLUMBUS AVE. THE DRIVER OF THE M/V WAS IDENTIFIED AS DIOVANNI M, CARTER. CARTER IS A
VERIFIED HIT-FAM GANG MEMBER. CARTER WAS ISSUED A UNIFORM CITATION AND WAS FREE TO LEAVE WITH NO

 

 

 

 

 

 

 

FURTHER INCIDENT.
Vehicles
Plate Plate Year State Vehicle Year Make Model Color = Style
6VHB42 2020 MA 2008 DODGE AVENGER GRAY PASSENGER CAR
FL # FI Date FI Location FI District
F1gg03680 7/1/2018 ROCKLAND ST & WALNUT AVE B2
Subjects
Name DOB Sex Race Height Weight
DIOVANNI CARTER aaa: M  B 601 185
DWAN DANTE KNIGHT(VOO HEAD/VH) SS: M B sli 180

 

 

Contact Reason
VALS, NO FRONT PLATE, BOTH INDIVIDUALS ARE GANG ASSOCIATES OF NORFOLK ST AND HIT FAM.....80TH PARTIES
HAVE A PRIOR FIREARM HISTORY.....

 

 

 

 

 

 

 

 

Vehicles

Plate Plate Year State Vehicle Year Make Madel Color = Style

6VH842 2020 MA 2008 DODGE AVENGER GRAY PASSENGER CAR
FI # FI Date FI Location Fi District
F185! 92. 7/6/2018 AMERICAN LEGION HWY & AUSTIN ST B3

Subjects

Name DOB Sex Race Height Weight

DIOVANNI CARTER =a M B 601 185

 

 

 

Contact Reason

ABOUT 0329 HOURS ON 07/06/18, RADIO CALL FOR INVESTIGATE SUSPICIOUS PERSONS, SECURITY FOR A
CONSTRUCTION SITE BETWEEN AUSTIN STREET AND KINGBIRD ROAD, ON AMERICAN LEGION HIGHWAY, REPORTED THAT
MALES HAD HOPPED THE FENCE TO THE SITE AND ITEMS WERE ITEMS WERE POSSIBLY BEING EXCHANGED BY SEVERAL
MALES ON SCENE. UPON ARRIVAL, OFFICERS ENCOUNTERED A GROUP OF APPROXIMATELY 8-10 MALES AND FEMALES
CONGREGATING AROUND SEVERAL CARS PARKED OPPOSITE THE SECURITY FENCE IN THE REAR OF THE CONSTRUCTION
SITE ON EAST MAIN STREET. OFFICERS INFORMED THE GROUP OF THE 911 CALL AND WHY THEY WERE HAVING A
CONVERSATION WITH THE GROUP. K9 UNIT SECURED THE SITE, NO PERSONS FOUND INSIDE. AMONG THE GROUP
OFFICERS ENCOUNTERED DIOVANNI CARTER (HIT-FAM; PRIOR FIREARM CHARGES AND MURDER CHARGE). CARTER
DROVE OFF OPERATING MA REG 8VH842 (GRAY DODGE AVENGER; VERBAL WARNING FOR ILLEGAL WINDOW TINT).

 

 

 

 

 

 

about:blank 2/1/2019
BROCK-TMO-000281
Case 1:19-cr-10104-ADB Document 86-19

Filed 10/02/19 Page 44 of 52

Page 28 of 36

 

 

 

 

 

Vehicles
Plate Plate Year State Vehicle Year Make Model Color = Style
6VH842 2020 MA 2008 DODGE AVENGER GRAY PASSENGER CAR
FI = FI Date FI Location FI District
£1800370 7/9/2018 594 BLUE HILL AVE B2
Subjects
Name DOB Sex Race Height Weight
DIOVANNI M CARTER(TROUBLE) =e: M B 601 18s
DWAN DANTE KNIGHT(VOO HEAD/VH) | sé M 2B 511 180

 

 

Contact Reason

ABOUT 0200 HOURS ON MONDAY, 07/09/18, CKO1A OBSERVED MA 6VH842 (2008 DODGE AVENGER) TO BE STOPPED AT
KINGSDALE STREET AND WARNER STREET ON THE WRONG SIDE OF WARNER STREET. THE OPERATOR OF MA GVH842
APPEARED TO BE SPEAKING WITH OCCUPANT(S) OF MA 7MDS531 (2012 HONDA ACCORD) WHICH WAS PARKED. BOTH
VEHICLES SUBSEQUENTLY DROVE OFF FOLLOWING EACH OTHER TO BERNARD STREET, TO HARVARD TO GLENWAY
STREET. MA 6VH842 WAS OBSERVED TO CROSS THE DOUBLE YELLOW LINES ON GLENWAY STREET AND WAS STOPPED AT
APPROXIMATELY 594 BLUE HILL AVE, DRIVEN BY DIOVANNI CARTER (HIT-FAM ASSOC) AND OCCUPIED BY DWAN KNIGHT
(NORFOLK ST ASSOC) IN THE FRONT PASSENGER SEAT (NO SEATBELT). OFFICERS OBSERVED THE FRONT WINDOWS TO
BE TINTED SUCH THAT THE INTERIOR OF THE VEHICLE WAS NOT VISIBLE. OFFICERS ISSUED A VERBAL WARNING AND
FIO'D THE PARTIES (PRIOR FIREARM ARRESTS).

 

 

 

 

 

 

 

 

 

Vehicles
Plate Plate Year State Vehicle Year Make Model Color = Style
6VH842 2020 MA 2008 DODGE AVENGER GRAY PASSENGER CAR
FI # FI Date FI Location Fl District
F190041641 1/9/2019 COLUMBUS AVE & HEATH ST E13
Subjects
Name DOB Sex Race Height Weight
DIOVANNI CARTER sl: M B 601 185
STEPHAN ROSSER-STEWART M B 509 185

 

 

 

Contact Reason

OFFICERS CONDUCTED A T-STOP FOR VAL'S AT COLUMBUS AVE/HEATH STREET. OPERATOR WAS DIOVANNI CARTER
MULTIPLE PRIOR F/A CHARGES AND A NG MURDER CHARGE. PASSENGER WAS STEPHAN ROSSER-STEWART ACTIVE
BICKNELL ASSOCIATE. CARTERS LICENSE WAS SUSPENDED. ALL OCCUPANTS REMOVED FRISK OF THE VEHICLE
CONDUCTED TO NO AVAIL. CARTER ADVISED TO PARK THE CAR AND NOT DRIVE. BKO3F (O'LOUGHLIN/FOLEY)}

 

 

Vehicles
Plate
akG589

State
MA

Plate Year

Vehicle Year
2017

Style
PASSENGER CAR

Color
RED

Model
OTHER

Make
NISSAN

 

 

FIO Date
6/21/2013

FIO #
604291

 

FIO Address
BOWER ST

FIO District
B3

 

 

Subjects
Last Name
CARTER

First Name Middle Name

DIDOVANNI

pos

a? MALE B(Black) za]

Sex Race Home Address Occupation Employer

 

Associates
Associate Name
COLEMAN, TRACEY
MYERS, SHAWN

 

Associate Address

 

 

| Comments

FIO # FIO Date

 

 

about:blank

FIO Address

FIO District

 

 

2/1/2019
BROCK-TMO-000282
 

Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 45 of 52

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 29 of 36
600142 5/8/2013 BLUE HILL AV / DEWEY ST B2 |
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
Carter Diovanni =): MALE B(Black) —a >.
| comments |
FIO # FIO Date FIO Address FIO District
490574 7/23/2010 Sy B3
Subjects
Last Name First Name Middle Name DOB Sex Race Home Address Occupation Employer
CARTER — DIAVANNI Mss Mace No DATA ENTERED
Comments
FIO # FIO Date FIO Address FIO District
462551 11/13/2009 asi B3
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE B(Black)
Comments
nitelite
FIO # FIO Date FIO Address FIO District
461169 11/4/2009 f= B32
Subjects
LastName FirstName Middle Name DOB Sex Race Home Address Occupation Employer
CARTER §DIOVANNI E> MALE B(Black) =a] UNEMPLOYED
Comments |
FIO # FIO Date FLO Address FIO District
460866 10/30/2009 SS cul
Subjects
LastName FirstName Middle Name DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE B(Black)
Comments
nitelite
FIO # FIO Date FIO Address FIO District
459629 10/23/2009 eeeezI cu
Subjects
LastName FirstName Middle Name DOB Sex Race Home Address Occupation Employer
Carter Diovanni ia MALE B(Black) =a
Comments
nitelite
FIO # FIO Date FIO Address FIO District
457212 10/14/2009 Ss] 83
about:blank 2/1/2019

BROCK-TMO-000283

 
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 46 of 52

 

 

 

 

 

 

 

CARTER DIOVANNI

Es se B(Black) aaa ||

Page 30 of 36
Subjects
LastName FirstName MiddleName DOB Race Home Address Occupation Employer
Carter Diovanni S29 MALE B(Black) hari
Comments
nitelite
FIO # FIO Date FIO Address FIO District
471791 10/10/2009 571B WASHINGTON ST C11
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer

 

 

Associates
Associate Name
BARRON, HOLLIDAY
ANTAEUS, MARTIN

Associate Address

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LastName FirstName Middle Name
CARTER DIOVANNI M

Comments
INVESTIGATER PERSON ON-SITE DRUG INVESTIGATION
FIO # FIO Date FIO Address FIO District
57282 10/9/2009 as B3
Subjects
LastName FirstName Middle Name DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE 2B(Black) MAPP
Comments
nitelite
FIO # FIO Date FIO Address FIO District
455392 9/30/2009 si 83
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE B(Black)
Comments
nitelite
FIO ¥ FIO Date FIO Address FIO District
396021 5/1/2008 HOWARD ST / DALKEITH ST B2
Subjects

DOB Sex Race Home Address Occupation Employer

aS MALE B(Black) hme ||

 

Associates
Associate Name
ADAMS-COLEMAN, STACY

JORDAN, SHALIK

Associate Address

 

 

 

Comments

 

FIO WRITTEN BY MSP TROOPER MCINTYRE ID#3151

 

 

 

 

about:blank

 

2/1/2019
BROCK-TMO-000284
Case 1:19-cr-10104-ADB

Document 86-19 Filed 10/02/19 Page 47 of 52

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 31 of 36
Vehicles
Plate State Vehicle Year Make Model Color
12SA33 MA 2004 GMC ENVOY TAN
FIO # FIO Date FIO Address FIO District
374578 4/19/2008 DUDLEY ST B2
Subjects
LastName FirstName Middle Name DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE 8(Black)
Associates
Associate Name Associate Address
isaiah hawkins elliot daryl
james coleman
Comments
invest group
FIO # FIO Date FIO Address FIO District
3eaa4o 4/2/2008 ey B
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
CARTER DIOVANNI a: MALE B(Black) =| ‘
Comments
FIO # FIO Date FIO Address FIO District
344049 10/28/2007 20 DARLINGTON ST Ba
Subjects
LastName FirstName Middle Name DOB Sex Race Home Address Occupation Employer
CARTER — DIOVANNI M29 ale B(clack) DYS CUSTODY
Comments |
Vehicles
Plate State Vehicle Year Make Model Color
OTHER SCOOTER GREY
FIO # FIO Date FIO Address FIO District
324378 5/4/2007 | B3
Subjects
Last Name FirstName Middle Name DOB Sex Race Home Address Occupation Employer
CARTER DIOVANNI 0) SS STUDENT CTS
Comments |
FIO # FIO Date FIO Address FIO District
2e142 9/7/2006 aa BS
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupaton Employer
Carter Diovanni am: MALE B(Black) [x shelborne
Comments |
about:blank 2/1/2019

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Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 48 of 52

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 32 of 36
Nite-Lite curfew check |
FIO + FIO Date FIO Address FIO District
260984 8/2/2005 60 SOUTHERN AV B3
Subjects
LastName FirstName Middle Name Sex Race Home Address Occupation Employer
Carter Diovanni Eo MALE B(6lack)
Comments
stiff (L) arm holding, tight agaignt side./ no weapn recovered
FIO # FIO Date FIO Address FIO District
243734 6/20/2005 39 DUNLAP ST C11
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer

Carter Diovonni i MALE B(Black) =a Student Dudley St. Comm

 

Associates
Associate Name Associate Address

Darius Carter JD

Duante Beal i

 

 

Comments
Suspect in armed robbery

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FIO # FIO Date FIO Address FIO District
242222 6/8/2008 544 WASHINGTON ST cli
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
carter diovanni 89 MALE B(Black)
Comments
FIO # FIO Date FIO Address FIO District
241051 5/28/2005 WASHINGTON ST / LYNDHURST ST cil
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE B(Black) Student
| cornments
FIO # FIO Date FIO Address FIO District
241968 5/11/2005 TALBOT AV / SOUTHERN AV Ba
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer

Carter Diovanni ==Sail:: MALE B(Black) == se)

 

 

 

 

 

 

 

 

Associates
Associate Name Associate Address
Johnny Bell 6 Lynhurst
Aimal Atherton 41 Armadine st
| Comments
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Case 1:19-cr-10104-ADB Document 86-19

Filed 10/02/19 Page 49 of 52

Page 33 of 36

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| j
FIO # FLO Date FIO Address FIO District
238612 5/5/2005 WASHINGTON ST / ROSEDALE ST C11
Subjects
Last Name First Name Middle Name DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE B(Black) Student Community Academy
Associates
Associate Name Associate Address
Stalings, Damien
Lyttle, Jordan
| Comments
FIO # FIO Date FIO Address FIO District
240818 4/11/2005 WASHINGTON ST / LYNDHURST ST B3
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE B(Black)
Associates
Associate Name Associate Address
Tom, Neo!
| comments |
FIO # FIO Date FIO Address FLO District
234708 3/17/2005 431 WASHINGTON ST cil
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
Carter Diovanni a <2 MALE B(Black) aes Charlestown HS
Associates
Associate Name Associate Address
Daou =a
Comments
Vehicles
Plate State Vehicle Year Make Model Color
12KY20 MA 4
FIO # FIO Date FIO Address FIO District
234419 3/13/2005 708 WASHINGTON ST cil
Subjects
LastName FirstName Middle Name DOB Sex Race Home Address Occupation Employer
Carter Diovanni S29 MALE B(Black) Student Charlestown HS
Associates
Associate Name Associate Address
Lavar Casey = a
Rowell Kennedy ===

 

 

 

 

 

 

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Filed 10/02/19 Page 50 of 52

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 34 of 36
Comments
FIO # FIO Date FIO Address FIO District
234537 2/22/2005 SOUTHERN AV / DARLINGTON ST B3
Subjects
LastName FirstName MiddleName DOB Sex Race Home Address Occupation Employer
Carter Diovanni 89 MALE &(Black)
Associates
Associate Name Associate Address
Baris carter RP
Comments
FIO # FIO Date FIO Address FIO District
215889 5/29/2004 TALBOT AV B3
Subjects
LastName FirstName MiddleName DOB Sex Race Horne Address Occupation Employer
Carter Diovanni GE so MALE G(Biack) Timothy Mid
Associates
Associate Name ‘Associate Address
Rosevelt Thornton Saal
| Comments
Gang Database (1)
Last First . Status
Gang Person ID Name Name DOB CRNum House Street City State Zip Desc.
89
4089 CARTER DIOVANNI a AM 2005000424 40 _ _ Saar) ACTIVE
Hackney (0)
Federal Probation (0)
CaselInfo (0)
CrimeNTel (2)
First Name LastName MiddleName DOB House Street City State
Diovanni Carter 88 12:00:00 AM MA
Diovanni Carter 89 12:00:00 AM MA
Omega Dashboard Incidents (1)
Show All Incident Details
Incident # From Date Offense Reports Address City
2018- sani s
00003703-A 2018-08-24 12:30:00 FOUND PROPERTY Incident Report, B69 COMMONWEALTH AV BROOKLINE
RICI (23)
BK Num Leet Feet DOB CRNum House Street City State District Occupation Employer
Name Name Y'
. eee: Charlestown
20050023502 CARTER Diovanni 12:00:00 2005000424] x) 6&3 Student Hs
AM
as: Charlestown
about:blank 2/1/2019

BROCK-TMO-000288
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 51 of 52

Page 35 of 36

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20160023403 CARTER Diovanni 12:00:00 2005000424
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29160080203 CARTER Diovanni 12:00:00 2005000424
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20180093502 CARTER Diovanni 12:00:00 2005000424
AM

BRIC Request Forms (0)

cil Student

Charlestown

cil Student
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Academy
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Dudley St
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B2 Student Cts

 

B3 Unemployed

 

Cll Unemployed

B3 Unemployed

B2 Unemployed

B2 Unemployed

B3 Unemployed

 

B3 Unemployed

 

B2 Unemployed

 

B3 Unemployeed

 

B3 Student Strive

B3 Na Na

cil Construction Michaels

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B3 Construction

 

B2 None

 

 

 

 

 

 

 

This document may contain CORI sensitive information as well as intelligence or investigative information and is limited to

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BROCK-TMO-000289
Case 1:19-cr-10104-ADB Document 86-19 Filed 10/02/19 Page 52 of 52

Page 36 of 36

authorized personnel and must be handled in accordance with Massachusetts General Laws and BPD / BRIC policy requirements.
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BROCK-TMO-000290
